 

WD 00 \J Ch hh id vQ 53 vi

»--¢v--‘»--\\--¢
L)J[\)*"-‘O

14

NNI\J[\JI\)I\J!\)!\)I\)>-‘*~*>-‘*-*'~'*
OO\]O\U!-l>~b~)l\)v-*O\DOO\IO\UI

 

 

Se 2:13-cV-06154-GAF;P3¥V Document 12 Filed 10/25/1$3 P‘age 1 of 65 Page |D #:243

WALTER J. LACK, ESQ., State Bar NO. 57550

wlack@elllaw. com

PAUL A. TRAINA, ESQ., State Bar NO. 155805

ptmz'na@elllaw.com

JARED W. BEILKE, ESQ., State Bar No. 195698

jbeilke@elllaw.com

ENGSTROM, LIPSC()MB & LACK
A Professional Corporation

1010() Santa Monica Blvd., 12th Floor
L<)s Angeles, California 90067-4113

reh (310) 552~3800 / Fax; (310) 552-9434

Cz,_ERK, us DzS:§§_gT GOURT

    
     

gg“§’ 2 5 20¥'3

  

Q”"“’"°"" LXFGRNQA
Q;»:NWAL 0 , OF CA E…T _

MICHAEL l. LEONARD (Moving Pro Hac Vz`ce)

mleonam’@leonardlaw@§(ices.com
LEONARD LAW OFFICES

203 N. LaSaHe Stre€t, Suite 1620
Chicago, lllinOiS 60601

Tel: (312) 380-6559

Attomeys for PlaintiffS/Relator

UNITED STATES DISTRICT COURT FOR THE
CENTRAL DISTRECT OF CALIFORNIA

UNITED STATES OF AMERICA
EXREL., FOX RX, INC., AS
RELATOR UNDER THE FEDERAL
FALSE CLAIMS ACT;

STATE OF CALIFORNIA, EXREL.

FOX RX, INC., AS RELATOR UNDER

£IEI:E CALIFORNIA FALSE CLAIMS
T;

DISTRICT OF COLUMBIA, EXREL.
FOX RX, INC., AS RELATOR UNDER
THE D.C. FALSE CLAIMS ACT;

STATE OF FLORIDA, EXREL. FOX
RX, INC., AS RELATOR UNDER THE
FLORIDA FALSE CLAIMS ACT;

STATE OF NEW JERSEY, EXREL.
FOX RX, INC., AS RELATOR UNDER
THE NEW JERSEY FALSE CLAIMS
ACT;

\_/\_/\./\,/W

)
§
)
)
)
)
)
)
)
)

 

383886

CASE NO. 2;13-CV-6154»GAF(PJWX)
FILED UNDER SEAL

FIRST AMENDED QUI TAM
COMPLAINT FOR DAMAGES AND
CIVIL PENALTIES FOR
VIGLATIONS OF:

THE FEDERAL FALSE CLAIMS ACT
(31 U.S.C. § 3729 ETSEQ.);

THE CALIFGRNIA FALSE CLAIMS
ACT (CAL. GOV. CODE § 1265());

THE D.C. FALSE CLAIMS ACT (I).C.
CoDE § 2-381.02);

THE FLORIDA FALSE CLAIMS ACT
(FLA. STA'I`. ANN § 68.082(2)); THE
NEW JERSEY FALSE CLAIMS ACT
(N.J,S.A. 2A:32C-3);

]

FIRST AMENDED QUI TAM COMPLAINT

 

 

\DOO\]O\U\-l>b~)l\)»-‘

NI\)N[\)I\)[\)[\)I\)[\)»-d»-d»-»-*)-~»-¢>-»>-av-‘»-
OO\]O\Lh-B~W[\)>-‘O©OO\IO\&/l-{>L»JI\J*~‘O

'\

C

lee 2:13-cV-06154-GAF§I5ng Document 12 Filed 10/25/13§'/%|'55"§19€ 2 of 65 Page |D #:244

STATE OF NEW Y©RK, EXREL. FOX) THE NEW YORK FALSE CLAIMS
RX, INC., AS RELATOR UNDER THE) ACT (N.Y. STATE FIN. LAW § 189);
NEW YORK FALSE CLAIMS ACT; and

THE TEXAs MEmCAn) FRAUD
PREvENTroN Ac'r (TEX. HUM. REs.
Coi)E ANN. § 36.002)

JURY TRIAL DEMANDED

and

STATE OF TEXAS, EXREL. FOX RX,
INC., AS RELATGR UNDER THE
TEXAS MEDICAID FRAUD
PREVENTION ACT,

Plaintiffs/Relator,

\/\./W\'/\_/\./W\/W

V.

MANAGED HEALTH CARE
ASSOCIATES, INC.; MHA LTC, INC.;
and DOES 1 through 10,

Defendants.

\_/

The United States of America, the District of Coiumbia, and the States of California,
F1orida, New Jersey, New York, and Texas (collectiveiy, “the States”), by and through qui ram
Relator, Fox Rx, Inc. (“Fox,” “P1aintiff,” or “Re1ator”) bring this action under the Federa1 Faise
Ciairns Act, 31 U.S.C. § 3729~3733, et seq. (“FCA”), and under the States’ False Claims Acts
as enumerated below, against Defendant, Managed Hea1th Care Associates, Inc., and its wholly
owned subsidiary, MHA LTC, 1nc. (co11ective1y as “MHA”), to recover a11 damages, pena1ties,
and other remedies provided for by the FCA and the States’ False Ciaims Acts, and for their
Comp1aint a11ege and state as fo11ows:

I. INTRODUCTION

1. MHA is one of the 1argest companies providing pharmacy services to 1ong-term
care faci1ities (“LTCFS”), including to nursing homes.

2. Speciiically, MHA contracts with private insurers who in turn contract with, and
are reimbursed by, the Federa1 Government pursuant to Medicare Part D (“Part D”) to provide
prescription drugs through MHA’s network of independent pharmacies to beneficiaries of those
Part D Plans. The Re1ator in this case, Fox, is one of those private insurers, known as a

Medicare Part D Plan Sponsor or “PDP.”

383886 2

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

¥OOO\}O\UI~{>WI\)»-a

{\)[\)[\)[\)[\)I\J[\)[\)[\J>-¢»-J»-A»-A»-“>-ai_¢»-*»-‘>-¢
OO\lO\KJI-BL)J!\)*-“O\DOO\IO\U\-PDJN>-“O

 

 

’ se 2:13-CV-06154_(3,¢\|;§;y

 

 

J~\/\/ Documem 12 Filed 10/25/1§;-7‘"`1""`|§39@ 3 of 65 Page lD #:245

3. As described in detail below, since the commencement of the Part D program in
2006, MHA, putting profit above the well-being of LTCF residents, has intentionally, routinely,
systematically, recklessly, and illegally submitted and caused to be submitted to the United
States, materially false records and statements relating to its pharmacies’ harmful, dangerous
and illegal dispensing of atypical antipsychotic drugs to Medicare and l\/ledicaid recipients
belonging to the l\/ledicare Part D Plan sponsored by the Relator or to the hundreds of other
PDPs throughout the United States and in the Commonwealth of Puerto Rico whose members
are residents of LTCFs.

4. ln short, from January 1, 2006 to the present, MHA has employed a fraudulent
scheme to improperly and illegally submit claims for atypical antipsychotic drugs that are
medically unnecessary and more importantly, harmful ln so doing, MHA failed to fulfill its
obligations at the point of service to oversee the use of antipsychotic pharmaceuticals in the
vulnerable elderly population it serves, thus violating applicable Federal statutes, Federal rules
and regulations, CMS instructions, State pharmacy laws, and material contractual provisions
relating to its dispensing of drugs to Part D beneficiaries

5. l\/loreover, l\/IHA attempted to camouflage its illegal scheme by: failing to
disclose to the United States or the PDP’s, the astronomical and illegal kickbacks it received in
the form of “rebates” from the manufacturers of atypical antipsychotic drugs, and by waiving,
or failing to collect, co-payments from beneficiaries Those co-pays would have raised red-flags
regarding MHA’s illegal practices

6. As a direct and foreseeable result of the Defendants’ improper and illegal
practices, Federal health insurance programs have been materially impacted and financially
damages by Defendants’ submission of false and fraudulent Part D claims.

II. PARTIES

7. Relator, Fox RX, lnc., is a Delaware corporation and the parent corporation of
Fox Insurance, lnc. (collectively, “Fox”), also a Delaware corporation During the time period
from 2006 to 2010, Fox lnsurance, lnc. was engaged in the business of sponsoring PDPs.

8. Fox, through its review and intimate understanding of claim-specific data

383886 3
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

C\OOO\]O`\Ui-l>b~>l\)>-\

OO\]O\§/l-bb~>l\)>-*O@OO\IO\U’I-f>le\)-*

ase 2:13-cV-O6154-GA|::5F53§/V Document 12 Filed 10/25/13;;5‘"'*15§9€ 4 of 65 Page |D #:246

submitted to it and its agents, and through its expertise with respect to mental health issues in
LTCF and other settings, is the original source of the allegations and transactions alleged in this
Coinplaint. lndeed, Fox relies upon its own data in support of these allegations

9. Plaintiff, the United States of America, acting through the Department of Health
and Human Services (“HHS”) and its Centers for l\/ledicare and Medicaid Services (“CMS”),
administers the Health lnsurance Program for the Aged and Disabled established by Title XVHI
of the Social Security Act, 42 U.S.C. §§ 1395, et seq. (“Medicare”), and the Grants to States for
l\/ledical Assistance Programs pursuant to Title XIX of the Social Security Act, 42 U.S.C. §§
1396 et seq. (“l\/ledicaid”).

10. Each of the Plaintiff States participate in the l\/ledicaid program and each of them
has also adopted its own State False Claims Acts similar to the FCA.

11. Defendants l\/lanaged Health Care, lnc., and its wholly owned subsidiary MHA
LTC, lnc., are privately held New lersey corporations with their corporate headquarters located
in Florham Park, New Jersey.

12. According to MHA’s website, “[w]ith a clear understanding of industry changes
with Medicare Part D, our management team created the Long~Term Care (LTC) Pharmacy
Network in 2006 to assist long-term care pharmacies and prescription drug plans (PDPs) with
managing LTC Medicare Part D claims. More than a third of all such claims in the US now
flow through the MHA network.” See http://mhainc.com/templates/c3-lZ.ast?id=53&terms
=LTC.

13. l\/IHA further states on its website that:

l\/lore than 1,100 long-term care pharmacies are enrolled in the MHA
Long-Term Care Pharmacy Network - a number that continues to grow
as new pharmacies are added.

For these members, MHA network contracts provide access to more than
90 percent of benchmarked PDPs and more than 95 percent of l\/Iedicare
Advantage-Prescription Drug

(l\/IA~PD) plans in the country.

Benefits of membership

l\/lembers of the MHA Long-=Term Care Pharmacy Network benefit from

383386 4

 

 

FIRST AMENDED QUI TAM C()MPLAINT

 

 

 

 

\OOC\IO`\L/\-l>b~)!\)>-~

l\)l\)l\)l\)l\)f\)l\)[\)!\)»-*>-¢»-*>-d>--»_a»_¢»_a_¢,__\
OO\]O`\{JI~[>L)JI\)'_‘O\COO\]O\U`|~PDJ[\)*~‘O

K\)

 

Se 2:13-cv-O6154-GAF§P'J§!V Document 12 Filed 10/25/13§:"” @ge 5 of 65 Page |D #:247

 

multiple efficiencies: access, administrative, data and reporting,
reimbursement, and more.

' Access to the PDPs and MA~PDS to which your patients subscribe

' Contracted reimbursements at long-term care rates and multi-year terms,
with additional performance-based reimbursements for formulary
management and generic therapy management

' Review of the impact of Medicare Part D with your account-dedicated
team, including comprehensive formulary management reporting

~ Net-Rx provides operational and technical services exclusively for LTC
pharmacies by helping these organizations to lower operational costs,
increase profitability and provide industry specific solutions Net-Rx’s
portfolio of products includes drug pricing services, claims reconciliation,
transaction services, 34013 services, pharmacy operations, offsite data
back-up, networking and managed security.

' With RxPertise software from l\/IHA, the ability to determine coverage
and locate covered therapeutic alternatives quickly with the Prescription
Drug Plan Formulary Checker.

See http://mhainc.com/templates/c3-»12.aspx?id=49&terms=LTC
lll. JURISDICTI()N AND VENUE

14. Jurisdiction in this Court is proper pursuant to 31 U.S.C. §§ 3732(a) and 3730(b).
This Court also has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367.

15. This Court can exercise personal jurisdiction over the Defendants, and venue is
proper in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. § 1391 because the acts
proscribed by 31 U.S.C. §§ 3729 et seq., and complained of herein took place in part in this
District and the Defendant regularly transacted business in this District. For example, MHA
contracted with pharmacies located in this District that were used to carry out MHA’s scheme

16. Jurisdiction in this Court over all related State laws alleged herein is proper under
31 U.S.C. § 3732(b).

17. Pursuant to 31 U.S.C. § 3730(b)(2), the Plaintiff prepared, and has served with
this Complaint upon the Attorney General of the United States, the United States Attorney for
the Central District of California, and the Attorneys General of each of the Plaintiff States to
this action, a written disclosure of all material evidence and information currently in its

possession That disclosure is supported by material evidence known to the Relator at the time

383886 5

 

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

\OOO\\O`\U\-l>~b~)l\)»-‘

[\JI\J[\)[\.)[\)[\)[\)[\)[\)»-¢>-d>-¢M>-*)~¢v--»-d»-d)-d
OO\]O\M-D~WN>-‘C©OO\]O\§/\LL)JN*~‘O

 

 

 

' se 2:13-cV-O6154-GAF§;-‘153§§/V Document 12 Filed 10/25/13;:'~'"”5§9€ 6 of 65 Page |D #:248

of the filing of this action establishing the existence of Defendants’ violations of the FCA.
Because those disclosures include attorney-client communications and work product, and were
submitted to those Federal officials in their capacity as potential co-counsel in the litigation, the
Relator understands those disclosures to be confidential and exempt from disclosure under the
Freedom of lnformation Act. 5 U.S.C. § 552; 31 U.S.C. § 3729(c).

18. l The allegations and transactions alleged herein have not been publicly disclosed
Fox is an original source of the allegations and transactions in this lawsuit Fox has also
voluntarily provided the information to the Govemrnent before filing an action under this
section.

19. Pursuant to 31 U.S.C. §3731(b)(1)(2), this FCA Complaint is initiated within the
applicable statute of limitations
IV. ALLEGATI()NS COMMON TO ALL COUNTS

A. The False Claims Act (“FCA”)

20. The FCA, 31 U.S.C. § 3729(a)(1)(A), makes “knowingly” presenting or causing
to be presented to the United States any false or fraudulent claim for payment or approval a
violation of Federal law for which the United States may recover three times the amount of the
damages the Government sustains, in addition to a civil monetary penalty of between $5,500
and $11,000 per claim.

21. The FCA, 31 U.S.C. § 3729(a)(1)(B), makes “knowingly” makingj using, or
causing to be used or made, a false record or statement material to a false or fraudulent claim, a
violation of F ederal law for which the United States may recover three times the amount of the
damages the Government sustains, in addition to a civil monetary penalty of between $5,500
and $11,000 per claim.

22. The FCA defines a “claim” to include any request or demand, whether under a
contract or otherwise, for money or property which is made to a contractor, grantee, or other
recipient if the United States Goveinment provides any portion of the money or property which
is requested or demanded, or if the Government will reimburse such contractor, grantee, or

other recipient for any portion of the money or property which is requested 31 U.S.C. §

383886 6
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

\OOO\]O\L/\LL)JI\.)»-~

I\)l\.)l\)[\)[\)l\))--\»_)»-a)-\>-i»--\»-d)-a»--»-‘
w-i>~wN*“O\DOO\]@§h-PL)JN>~“C

26

 

 

CaSe 2:13-cv-O6154-GAF§153§/V Document 12 Filed 10/25/13§”$1‘5§9€ 7 of 65 Page |D #:249

3729(b)(2). t

23. The FCA, 31 U.S.C. § 3729(b)(1), provides that “(1) the terms ‘knowing’ and
‘knowingly’ - (A) mean that a person, with respect to information - (i) has actual knowledge of
the information; (ii) acts in deliberate ignorance of the truth or falsity of the information; or (iii)
acts in reckless disregard of the truth or falsity of the information; and (B) requires no proof of
specific intent to defraud.”

24. The FCA, 31 U.S.C. § 3729(b)(4), provides that “(4) the term ‘material’ means
having a natural tendency to influence, or be capable of influencing, the payment or receipt of
money or property.”

25. As described in detail below, MHA violated the FCA through the fraudulent
submission of claims to CMS for excluded atypical-antipsychotic drugs to Part D beneficiaries
MHA knowingly caused to be submitted Part D claims for atypical antipsychotics that were not
covered by Part D because the use for which they were prescribed was not approved by the
FDA or was not a “medically accepted indication” as set forth in at least one of the three
statutorily recognized “Compendia.” MHA also knowingly caused to be submitted Part D
claims for atypical antipsychotic drugs that were not covered by Part D because they were the
result of illegal kickbacks paid to MHA and offered by l\/lHA.

26. Each of the Plaintiff States to this action has adopted a False Claims Act that
provides comparable relief to them for the submission of false and fraudulent claims. These
State False Claims Acts include:

a California: Cal. Government Code § 12650, etseq.;

b. Florida: Fla. Stat. § 68.081, et seq.;

c. New Jersey: N.J. St. Fin. Law § 187, et seq.;

d. New York: N.Y. State Finance Law § 189, et Seq.;

e. Texas: Tex. Hum. Res. Code § 32.039, et seq., and § 36.001, et seq.;

B. Background

1. The Medicare Part D Program: Prescription Drug Coverage

27. l\/ledicare is a federally funded and administered health insurance program for

383886 7
FIRST Al\/IENDED QUI TAM COMPLAINT

 

 

 

\OOO\]O`\K/i-LL)J[\)»-i

[\)N[\)N[\)I\)NN[\)»-*>-*»-*b-*»-*>-*»-~»-a»-*i_a
OO\]O`\Lh-¥>WN*°°‘©@OO\]O`\U\LL)JN*_‘O

(

ise 2:13-cv-O6154-GA|:§€153§/V Document 12 Filed 10/25/13§”"1'-">§39€ 8 of 65 Page |D #:250

certain groups of persons, primarily the elderly and the disabled HHS administers the
l\/ledicare program through its sub-agency, CMS.

28. l\/ledicare Part D, a voluntary prescription drug benefit program for Medicare
enrollees, became effective on January l, 2006. See 42 U.S.C. 1395w-101, et Seq.

29. Unlike coverage in Medicare Parts A and B, l\/ledicare Part D coverage is not
provided within the traditional l\/ledicare program lnstead, l\/ledicare beneficiaries must
affirmatively enroll in one of the many hundreds of Part D Plans offered by private companies,
known as “Part D Sponsors,” who contract with CMS to administer prescription drug plans
(“PDPS”). See MMA, Sections 1102, 1860D-l through 18601)-42, and 1871 of the Social
Security Act; 42 U.S.C. §§ 1302, 1395w-101 through 1395w-152, and 1395hh.

30. A Medicare Part D Plan Sponsor (hereinafter, “Sponsor,” “PDP Sponsor,” or
“Part D Sponsor”) is an entity that is certified as meeting the requirements of Part D and which
has contracted with CMS to provide Part D benefits See Section 1860D-4l, 42 U.S.C. §
l395w-151(a)(13) and (14)(13). The term “Part D Sponsor” also includes employer and union-
sponsored Plans that offer qualified Part D prescription coverage S@e 42 C.F.R. § 423.4.

31. Under Part D, the process begins with the health insurance company submitting a
certified application to CMS to participate as a Part D Plan Sponsor to provide prescription
drug coverage to qualifying Part D Plans. See 42 C.F.R. §§ 423.502, 423.265 and 423.272.
That application is a prerequisite for contracting with CMS as a Part D Plan Sponsor. Id. at 42
C.F.R. §423.504(b).

32. The Part D Plan Sponsor must also expressly agree to comply with the
requirements and standards of Part D and all the terms and conditions of payment See Section
1860D-12, 42 U.S.C. § 1395w-112(b)(1).

33. The contract between the Part D Plan Sponsor and CMS must include the
elements listed in 42 C.F.R. § 423.505(b), including compliance with the reporting
requirements as set forth in § 423.514 and the requirements set forth in § 423.329(b) for
submitting drug claims and related information to Cl\/lS for its use in risk adjustment

calculations The Part D Plan Sponsor must also expressly agree to provide CMS with the

383836 g

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

\OOO\!O\U\-D~Wl\)>-a

l\)l\)l\)l\)l\-)I\)l\)[\)l\)*-*>-*»-*»-*>-‘»-*)-*>-‘»-¢i_*
OO\]O`\UW-l>~b~)[\)*-‘O©OO\]O`\U’I-D-QJN*~"O

C

 

rise 2:13-cV-O6154-GAF§P‘3§/V Document 12 Filed 10/25/13§51'15§9€ 9 of 65 Page |D #:251

information CMS determines is necessary to carry out the payment provisions See 42 C.F.R. §
423.505(b)(8) and (9).

34. A Part D Plan Sponsor, in contracting with Cl\/IS, also expressly “agrees to
comply with Federal laws and regulations designed to prevent fraud, waste, and abuse,
including, but not limited to, applicable provisions of Federal criminal law [and] the False
Claims Act (32 U.S.C. §§ 3729 etseq.).” 42 C.F.R. 423.505(h)(1).

35. To qualify for Part D payments from CMS, prior to each Plan year, each
approved Part D Plan Sponsor must submit a bid, certified by an actuary, for each Part D Plan it
will be offering See 42 C.F.R. § 423.265. The bid contains a per member per month
(“Pl\/IPM”) cost estimate to provide Part D benefits to an average l\/ledicare beneficiary in a
particular geographic area. CMS considers both the tiered formulary structure and utilization
management program components of the Part D Plan Sponsor’s bid. See 42 C.F.R. §
423.272(a)(2). From those Part D Plan bids, Cl\/lS calculates nationwide and regional
benchmarks which represent an average per member/per month (“PMPM”) cost. If the Part D
Plan Sponsor’s bid exceeds the benchmark, the Plan l\/lember/beneficiary must pay the
difference Once approved, the Part D Plan Sponsor may market its Plans to eligible l\/ledicare
Part D beneficiaries, but Cl\/IS also sets restrictions on marketing and enrollment See 42
C.F.R. § 423.50.

36. During each benefit year, Cl\/IS pays the Part D Plan Sponsor estimated payments
on a monthly basis ln turn, the Part D Plan Sponsor provides Cl\/lS with documentation of its
actual costs. The Part D Plan Sponsor must provide actual cost information to Cl\/lS by
submitting a Prescription Drug Event (“PDE”) record, with drug cost and payment data, for
each and every prescription that is filled for its Plan Members/beneficiaries.

37. Once enrolled, each Part D Plan l\/lember pays a monthly premium to the Part D
Plan, as determined under the Part D Regulations. See 42 C.F.R. §§ 423.153 and 423.293.

38. In the year following each benefit year, CMS reconciles the PDP Sponsor’s actual
prescription drug costs, as derived from its PDE records, against the Sponsor’s prior bid. lf the

PDP Sponsor’s actual costs exceed its estimated costs, the Sponsor may be able to recoup some

383886 9
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

©OO\]O`\U!-i-¥~L)Jl\.)i-

[\)NNNN[\)NN[\)*-*P~‘»-“)_*+-*»-¢i-¢»-a_d»_¢
OO\]O\Ul-SWN~O\COO\]O\L/l-PWI\)~‘O

se 2:13-cV-O6154-GAF-Fji§/ Document 12 Filed 10/25/13 Page 10 of 65 Page |D #:252

of its losses through a risk-sharing arrangement with CMS. Conversely, if a Part D Plan
Sponsor’s estimated costs exceed its actual costs, the Sponsor may have to pay back some of its
estimated payments to CMS.

39. Thus, CMS pays the Part D Sponsor under l\/ledicare Part D. The Part D Sponsor
then pays the Part D Plan pharmacies for the prescriptions they provided to the Plan l\/[embers,
less their co-payments.

40. The Part D Sponsor is required to make several crucial and material certifications
to Cl\/IS regarding its submission of Part D data used for payment, including: y

a. Certification of Data that Determines Payment: As a condition for
receiving a monthly payment . . . the Part D Plan Sponsor agrees
that its chief executive officer (CEO), chief financial officer
(CFO), or an individual delegated the authority to sign on behalf of
one of these officers, and who reports directly to the officer, must
request payment under the contract on a document that certifies
(based on best knowledge information, and belief) the accuracy,
completeness, and truthfulness of all data related to payment The
data may include specified enrollment information, claims data,
bid submission data, and other data that CMS specifies See 42
C.F.R. § 423.505(k)(1).

b. Certification of Enrollment and Payment information: The CEO,
CFO, or an individual delegated the authority to sign on behalf of
one of these officers, and who reports directly to the officer, must
certify (based on best knowledge information, and belief) that
each enrollee for whom the organization is requesting payment is
validly enrolled in a program offered by the organization and the
information Cl\/IS relies on in determining payment is accurate
complete and truthful and acknowledge that this information will
be usedfor the purposes of obtaining Federal reimbursement See
42 C.F.R. § 423.505(k)(2).

c. Part D Sponsor Certification of Claims Data: The CEO, CFO, or
an individual delegated with the authority to sign on behalf of one
of these officers, and who reports directly to the officer, must
certify (based on best knowledge information, and belief) that the
claims data it submits under § 423.329(b)(3) (or for fallback
entities, under § 423.871(f)) are accurate complete and truthful
and acknowledge that the claims data will be used for the purpose
of obtaining Federal reimbursement See 42 C.F.R. §
423.505(k)(3).

d. Certification of Bid Submission lnformation. The CEO, CFO, or
an individual delegated the authority to sign on behalf of one of

383886 10

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

C

h

\OOO\]O`\L/l-I>L)Jl\)»--‘

[\,)[\)[\){\)[\)>_¢>--4»-¢»--~>-¢)-\>-_1»-¢»-4>-¢
-PWN*-*O\OOO\]O`\L/`I-D~L)JN>~“O

3

 

  

Se 2:13-cv-O6154-GAF§;FYJ¥§V Document 12 Filed 10/25/135"“ age 11 of 65 Page |D #:253

these officers, and who reports directly to the officer, must certify
(based on best knowledge information, and beliei) that the
information in its bid submission and assumptions related to
projected reinsurance and low income cost sharing subsidies is
accurate complete and truthful and fully conforms to the
requirements in § 423.265. See 42 C.F.R. § 423.505(k)(4).

41. The Part D Sponsor is required to affirmatively certify the accuracy and
completeness of allowable costs for risk corridor and reinsurance information and of data for
price comparison that it submits to CMS. See 42 C.F.R. § 423.505(k)(5) and (6).

2. First Tier, Downstream, and Related Entities

42. The Regulations governing Part D benefits define major entities with which a Part
D Sponsor may contract See 42 C.F.R. § 423.505(i); see also, CMS’s Prescription Drug
l\/lanual, Chapter 9 - Part D Program to Control Fraud, Waste and Abuse, 40 - Part D Sponsor
Accountability and oversight, p. 12. Cl\/lS has described these entities as “pharmacies or other
providers, related entities, contractors, subcontractors, first tier and downstream entities.”

43. A “First Tier Entity“ is a party with whom the Part D Sponsor has a written
contract “acceptable to CMS with a Sponsor or applicant to provide administrative services or
health care services for a l\/ledicare eligible individual under Part D,” and most typically a
Pharmacy Benefits l\/lanager or “PBl\/l.” See 42 C.F.R, § 423.501; ace also, Cl\/lS’s Prescription
Drug Manual Chapter 9 ~ Part D Program to Control Fraud, Waste and Abuse, 40 - Part D
Sponsor Accountability and oversight, p. 12. Pursuant to those types of contracts, PBl\/ls work
with Part D Sponsors to develop and implement a prescription drug formulary, and to provide
automated processing services for Part D Sponsors to “adjudicate” claims submitted by
pharmacies on a real-time basis.

44. Part D Sponsor also enter into contracts with pharmacies (including LTCF
pharmacies, such as MHA), either directly or through a PBM contracted with that Part D
Sponsor, to provide prescription drugs to their Plan l\/lembers. Such pharmacies are referred to
as “downstream entities” for the purposes of Part D. See 42 C.F.R. § 423.501; see also, CMS’s
Prescription Drug Manual Chapter 9 - Part D Program to Control Fraud, Waste and Abuse 40
-- Part D Sponsor Accountability and oversight, p. 12.

333336 11
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

C

r\~i

\DOO\]O\Ui-l>b~)[\)»-a

I\JI\JI\)[\)[\)[\)[\)NI\)>-¢»-d-‘>-¢»-d>-d>-a>-->-*»_i
OO\IO\Lll-J>WI\)*~“O\OOO\IG\LIIJ>L»JN*"‘C

3

 

 

Se 2:13-cV-O6154-GAF;;P'J*§V Document 12 Filed 10/25/13§” gge 12 of 65 Page |D #:254

45. By way of illustration, to accomplish the aims of Part D, a common arrangement
is for a Part D Sponsor to enter into a contract with a PBl\/l. The PBM then contracts with
participating pharmacies, such as l\/IHA, to provide the actual dispensing services The
pharmacies are thus the “Downstream Entities.” lf the pharmacies then contract with individual
pharmacists those pharmacists would also be Downstream Entities for the purposes of Part D.
See CMS Prescription Drug Manual Chapter 9 - Part D Program to Control Fraud, Waste and
Abuse, 40 _- Part D Sponsor Accountability and Oversight, p. 12.

46. Fox, as have most Part D Plan Sponsors, contracted with PBl\/ls to process its Part
D claims for each of the years from 2006 through 2010.

47. MHA has contracted with the majority of l\/ledicare Part D Sponsors, including
Fox (as discussed in more detail below), either directly or through the PDP Sponsors’ PBMS to
provide LTCF pharmacy services to Part D beneficiaries enrolled in those Part D Plans.
Indeed, on its website MHA claims that it has contracted with more than 90 percent of
benchmarked PDPS and more than 95 percent of l\/ledicare Advantage~Prescription Drug (l\/IA~
PD) plans in the country. See il 13, supra)

3. Conditions of Medicare Part D Program Payments

48. In order to receive Part D funds from CMS, Part D Sponsors, and their authorized
agents, employees and contractors (including PBl\/ls and pharmacies) are required to comply
with all applicable federal laws, regulations as well as with CMS’s lnstructions. See 42 U.S.C.
§ 1860D-12(b)(1); 42 C.F.R. § 505(i)(4)(iv).

49. l\/ledicare Part D specifically requires that PDP Sponsors adhere to all Federal
laws and regulations specifically including those designed to prevent fraud, waste and abuse
See 42 C.F.R. § 423.505(h)(1).

50. ln addition, all First-Tier, Downstream, and Related Entities must similarly
comply with all of those mandated requirements As the Federal Regulations specify, “[i]f any
of the Part D Plan Sponsor’s activities or responsibilities under its contract with CMS is
delegated to other parties, the following requirements apply to any related entity, contractor,

subcontractor, or pharmacy: . . . [a]ll contracts or written arrangements must specify that the

333886 12
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

O\DOO\!O\U\J>DJI\J»-*

l\)l\)[\)[\)[\)N[\)[\)[\)>-d>-A»-*i-a>-¢>-‘>-\>-¢>-¢>_¢
OO\]O'\K/¥J>~L»)l\)>-*O\DOO\]O\§/\-l>-WN’_‘

\\]

 

 

   

Se 2:13-cV-O6154-GAF;:F1]§V Document 12 Filed 10/25/13{ g

ge 13 of 65 Page |D #:255

related entity, contractor, or subcontractor must comply with all applicable Federal laws,
regulations and CMS instructions.” See 42 C.F.R. § 423.505(i)(4)(iv).

51. ln addition, just as the Part D Sponsor must affirmatively certify the data it
submits to Medicare, pharmacy providers must similarly certify to the accuracy and

truthfulness of the data on each and every claim. The Federal Regulations provide that:

lf the claims data are generated by a related entity, contractor, or
subcontractor of a Part D Plan Sponsor, the entity, contractor, or
subcontractor must similarly certify (based on best knowledge
information, and belief) the accuracy, completeness and truthfulness of
the data and acknowledge that the claims data will be used for the
purposes of obtaining F ederal reimbursement

See 42 C.F.R. § 423.505(k)(3). ln sum, pharmacies and PBMs contracting with a Part D Plan
(or another PBl\/l) stand in the shoes of the Part D Plan with respect to its obligations under
Part D.

52. ln addition to requiring that only accurate and truthful data be submitted for
covered and payable claims, l\/ledicare also requires Part D compliance with a number of
quality assurance and compliance program requirements Federal Regulations specifically
require that Part D Sponsors establish quality assurance measures and systems that require the
Sponsor’s network providers “to comply with minimum standards for pharmacy practice as
established by the States.” See 42 C.F.R. § 423.153(c)(1). A “networ ” provider is described
as a pharmacy where enrollees may be expected to obtain covered Part D drugs See 42 C.F.R.
§ 423.128(b)(5) and (6).

53. Federal regulations also require that, in order to contract with Cl\/lS, a Part D
Sponsor must agree to comply with all applicable State law requirements See 42 C.F.R.
423.505(b)(15).

54. The importance of adhering to applicable State laws in the provision of l\/ledicare
Part D prescription drug coverage is also made clear by the Federal Regulations that require as
a condition precedent to contract as a Part D Sponsor, “Any entity seeking to contract as a Part
D Plan Sponsor must [h]ave administrative and management arrangements satisfactory to CMS,

as demonstrated by at least . . . [a] compliance plan that consists of . . . [w]ritten policies,

383886 13
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

\OOO\]O\U\-l>§»)[\)>-‘

NI\)N[\)\\)I\)NNK\)»-d>-a>-»-¢>-‘»-¢»-a»-¢»-a>_a
OO\IO\LJl~l>~L)-)N*_‘C>\OOO\!C\K/i-LWN>~‘O

 

   

a

Se 2:13-cV-O6154-GAF-§Pjii§\/ Document 12 Filed 10/25/13;f ge 14 of 65 Page |D #:256

procedures and standards of conduct articulating the organization’s commitment to comply
with all applicable Federal and State standards.” See 42 C.F.R. 423.504(b)(iv)(A).

55. ln addition, Part D Sponsors “must have established quality assurance measures
and systems to reduce medication errors and adverse drug interactions and improve medication
use that include a . . . [r]epresentation that network providers are required to comply with
minimum standards for pharmacy practice as established by the States.” See 42 C.F.R.
423.153(c)(1).

56. Services performed by or delegated by a PDP Sponsor to “First-Tier” entities,
such as PBl\/ls and/or “Downstream” entities such as pharmacies like l\/IHA and its member
pharmacies, must meet the standards required of the Part D Sponsor, and any contract between
the PDP and the First Tier PBl\/l or Downstream entities, including pharmacies must reflect
those obligations Id. at §§ 423.505(i)(3)(v), 423.505(i)(4)(iv).

57 . l\/lHA has expressly acknowledged all of these obligations in its contracts with
PDP Sponsors and/or PBl\/ls who are under contract to administer Part D claims on behalf of
the PDP.

4. Overview of the Medicaid Program

58. The Medicaid Program, as enacted by Title XlX of the Social Security Act of
1965, 42 U.S.C. § 1396, et seq., is a joint Federal-State program that provides health care
benefits for certain groups, primarily indigent and disabled individuals The federal l\/ledicaid
statute establishes the minimum requirements for State Medicaid programs to qualify for
Federal funding See 42 U.S.C. § 1396a

59. All of the Plaintiff States to the present action have affirmatively elected to
participate in the l\/ledicaid program, and all have elected to offer prescription drug coverage to
l\/ledicaid beneficiaries

60. The Federal portion of each State’s l\/ledicaid payments known as the Federal
l\/ledical Assistance Percentage (“FMAP”), is based on a State"s per capita income compared to
the national average See 42 U.S.C. § l396d(b).

61. The l\/ledicaid statute requires each participating State to implement and

333836 14
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

@OO\IO\K/`i~i»>b~>[\)»-i

l\)t\)l\)[\)[\)[\)[\)[\)[\)>-»-a>-\)-¢>-¢i_a»_*»-a»-¢>-d
OO\]O\Lll-§~L»JI\)-“O\OOO\iO\C/l-PL)JN>~*O

else 2:13-cV-O6154-GAF-§P1]V§/ Document 12 Filed 10/25/13 Page 15 of 65 Page |D #:257

administer a State Plan for medical assistance services which contains certain specified
minimum criteria for coverage and payment of claims See 42 U.S.C. §§ 1396, 1396a(a)(13),
l396a(a)(30)(A). These requirements include a comprehensive description of the State
l\/ledicaid agency’s payment methodology for prescription drugs See 42 C.F.R. § 447.518.

62. Although the l\/IMA transferred prescription drug coverage for dual eligibles to
Part D, States are still obligated to finance a portion of the Part D coverage through “clawback”
payments to the federal government Even though States are no longer responsible for covering
dual eligibles and do not have control over the cost of coverage the l\/ll\/lA’s clawback
provision requires States to pay the Federal Government a significant portion of the money they
save by no longer providing prescription drug coverage to dual eligibles See Robert Pear,
“States Protest Contributions to Drug Plan,” New York Times, Oct. 18, 2005.

63. Most States continue to include the clawback payments as part of the State
Medicaid budget, but these payments are not matched with federal funds and they are not
included in calculations of federal l\/ledicaid spending The federal government accounts for
these payments as Medicare revenue The Congressional Budget Office estimated that the
clawback payments from States to the federal government will total $124 billion between 2006
and 2015. Id.

5. Antipsychotic Fraud, Waste and Abuse In The LTCFs
a. Background

64. l\/lany LTCF residents suffer from illnesses, such as dementia, whose behavioral
challenges require well-trained and adequate numbers of LTCF staff Because of the difficulty
and cost of dealing with such patients, LTCFs are tempted to, and do, misuse prescription drugs
to make residents more “compliant,” or, in short, they use these drugs as “chemical restraints.”

65. Certain drugs are frequently misused as chemical restraints One class of such
drugs is collectively known as “atypical antipsychotics.”l Atypical antipsychotic drugs are
approved by the FDA to treat the psychotic symptoms of mental illness However, atypical

 

' The term “atypical” refers to the now-rejected belief that unlike “typical” or first-generation antipsychotic

drugs, these drugs did not cause side effects dealing with the extrapyramidal system in the brain.

333836 15
FIRST AMENDED QUI TAM CGMPLAINT

 

 

 

 

 

 

C

\DOO\]O\L/r-l>b~)l\.)»--*

l\)l\)[\)[\)[\)[\)[\)[\)[\)»_¢>-*»-»)_A>-‘>-‘»-¢>-¢)-a>-d
OO\]O`\L/r-I>-DJ[\)>-‘O\OOO\}O\L/l~i>~b~)l\)*-‘@

 

r\~i
>|J

S€ 2213-CV-06154-GAF:;P;]1{§V DOCument 12 Filed lO/25/13Page 16 Of 65 Page |D #:258

antipsychotics also have the effect of making patients for whom there is no FDA-approved use
more subdued and compliant and thus easier to manage in an LTCF setting

66. The use of medications to treat symptoms or conditions for which the medications
have not received FDA-approval is known as “off-label” uses While it is not per se illegal for
a physician to prescribe a medication for an off-label use it is in fact illegal for drug
manufacturers to market and promote drugs for off-label purposes including and especially
through, the offering of financial incentives to prescribe drugs for off-label uses lt is also
illegal for physicians and pharmacists to receive incentives such as kickbacks and rebates to
prescribe and dispense drugs for off-label purposes

67. Drug manufacturers use “off-label” marketing of atypical antipsychotics to cause
the illegal prescribing patterns described herein. These off-label marketing schemes involve
the payment of kickbacks in the form of rebates to LTCF pharmacies and MHA, and to PBMs,
based upon the volume of atypical antipsychotics

68. The LTCFS play an important role in the abuses described herein. As noted,
LTCFs lack sufficient appropriately trained staff to treat residents who suffer from dementia.
Accordingly, LTCFs use atypical antipsychotics as chemical restraints to control the behavioral
issues prevalent amongst residents of LTCFs.

69. LTCFs also reap significant financial benefits from the pharmacies’ submission
of claims for atypical antipsychotics to CMS. lndeed, where a drug is prescribed to a resident
of an LTCF and the cost of the drug is not funded by a health insurance payment, i.e., because
the cost of the drug is not covered under l\/ledicare Part D, it is the responsibility of the LTCF to
absorb that cost. See e.g., 42 C.F.R. § 483.60 (a) (“A facility must provide pharmaceutical
services (including procedures that assure the accurate acquiring, receiving dispensing, and
administering of all drugs and biologicals) to meet the needs of each resident”); see also,
Cl\/IS’s “State Operations l\/lanual (“SOM”), Appx. PP - Guidance to Surveyors for Long-Term

Care Facilities” at 134252 (“A facility must provide pharmaceutical services (including

 

2 Available at littps://www.cins.gov/inanuals/Downloads/soml07ap pp guidelines ltcf.pdf; or

https://www.cms.gov/transmittals/downloads/R22SOMA.pdf).

 

383336 16

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

C

\DOONO`\U`\~PLNN>-*

l\)l\)i\)\\)[\)l\)[\)l\)[\)v-‘>-‘>-d>-‘»-‘>-a>_i>-._a>~a
OOMC\L/l-i>L»-)!\)>-‘O\DOO\]O\&/`l~i>-L)J[\)_“O

r\~i
>|J

 

Se 2:13-cv-O6154-GAF?}53¥§V Document 12 Filed 10/25/13 j age 17 of 65 Page |D #:259

 

procedures that assure the accurate acquiring receiving dispensing and administering of all
drugs and biologicals) to meet the needs of each resident . . . The intent of this requirement is
that . . . in order to meet the needs of each resident, the facility accurately and safely provides
or obtains pharmaceutical services including the provision of routine and emergency
medications and biologicals, and the services of a licensed pharmacist”); see also, Department
of Health and Human Services, Office of the lnspector General, “Availability of Medicare Part
D Drugs to Dual-Eligible Nursing Home Residents,” OEl-02-06-00190, June 2008 at p. 103
(noting that nursing homes reported paying for drugs that were not paid for by Part D pursuant
to the above obligations). Accordingly, by submitting excluded claims to Medicare a LTCF
pharmacy provides a significant financial benefit to its LTCF client at the substantial expense
of Medicare and the Part D Plan Sponsor.
b. The Atypical Antipsychotics

70. The FDA has approved eight atypical antipsychotic drugs to treat various mental

disorders including

Aripiprazole (sold by Bristol-l\/lyers Squibb under the brand name Abilify);

.@~ s

Clozapine (sold by Novartis under the brand name Clozaril);

Olanzapine (sold by Lilly under the brand name Zyprexa);

.Q* .O

Olanzapine/Fluoxetine (sold by Lilly under the brand name Symbyax);
Paliperidone (sold by Janssen under the brand name lnvega);
Quetiapine (sold by AstraZeneca under the brand name Seroquel);

Risperidone (sold by Johnson & Johnson under the brand name Risperdal); and

grave

Ziprasidone (sold by Pfizer under the brand name Geodon).

,_¢.

These eight drugs are hereinafter collectively referred to as the “Atypical
Antipsychotics”
71. The FDA’s approval of these drugs is limited to certain specific mental health

conditions including schizophrenia and certain conditions associated with that illness

 

3 Available at littp://oig.hlis.gov/oei/reports/oei-02-06-00l90.pdf.

383886 17

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

C

h

\COO\]O`\U!-l>b)l\)>-¢

l\)l\)[\)[\)l\)l\)[\)l\)[\)>-¢>-‘~d>-*>-¢»-l>-~>-d>_a»-
OO\]O\§/]-I>~L)Jl\)*-"‘O\OOO\]O\K/\J>L)JN>~‘O

 

  

se 2:13-cv-06154-GAF;;153riv Documem 12 Filed 10/25/13§’"”3§99 is of 65 Page lD #:260

schizoaffective disorder, and the acute manic and mixed episodes associated with bipolar
disorders Risperdal is also approved for use in adolescents for certain symptoms of autism
disorder. §

72. Significantly, the FDA has declined to approve these drugs as chemical restraints
and such use is strictly prohibited in LTCFs. See 42 C.F.R. § 483.13(a) (“The resident has the
right to be free from any physical or chemical restraints imposed for purposes of discipline or
convenience and not required to treat the resident's medical symptoms”).

73. Not only is the use of Atypical Antipsychotic drugs as a chemical restraint illegal,
it also poses serious health risks Such iatrogenic (or treatment caused) conditions include
cardiovascular risks such as stroke; parkinsonism; seizures and diabetes among others

74. ln addition, each of the Atypical Antipsychotic drugs increases the risk of death
in patients with dementia. ln 2003, the FDA issued a public health advisory after concluding
that the use of Atypical Antipsychotics by patients with dementia posed a 60% to 70% greater
risk of death: See FDA’s Public Health Advisory, “Deaths With Antipsychotics in Elderly
Patients With Behavioral Disturbances” (Apr. ll, 2005). 4

75. ln 2005, the FDA also imposed a “black box” warning on the prescribing
information of all drugs in the atypical antipsychotic class similar to the following warning for
Risperdal (the branded version of Risperidone):

WARNING: INCREASED MORTALITY IN ELDERLY PA'I`IENTS
WITH DEMENTIA-RELATED PSYCHOSIS

See full prescribing information for complete boxed warning

Elderly patients With dementia-related psychosis treated with antipsychotic
drugs are at an increased risk of death. RISPERDAL® is not approved for
use in patients With dementia-related psychosis (5.1)

76. Because of these grave risks to human health and safety, federal law imposes
special restrictions on antipsychotic use in treating long-term care facility patients
77. For example Medicare Regulations for LTCFs provide that:
(l) Unnecessary drugs - (l) General.

 

4 Available at littp://www.fda.gov/Drugs/DrugSafetv/-PostmarketDrugSafetvlnformationforPatientsand

Providers/DrugSafetvlnfoimatioiiforHeathcarePi'ofessionals/PublicHealthAdvisories/ucm05 3 l 71 .htrn.

333286 18
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

Ca

\OOO\]O\U`:-l>u)l\)i-*

l\)l\)[\)[\)[\)[\)N[\)[\)v-r>-a>-¢)-¢>-e>-d>-¢)-~»_d>-¢
OO\]CDU-l>L)-)[\)*~“O\OOC\]O`\K/]-l>~b~)l\)>-"O

1

 

se 2:13-cv-O6154-GAF-§F5:1\i§:§/ Document 12 Filed 10/25/13 Page 19 of 65 Page |D #:261

Each resident’s drug regimen must be free from unnecessary drugs An
unnecessary drug is any drug when used:
(i) ln excessive dose (including duplicate drug therapy); or
(ii) For excessive duration; or
(iii) Without adequate monitoring or
(iv) Without adequate indications for its use or

(v) ln the presence of adverse consequences which indicate the
dose should be reduced or discontinued; or

(vi) Any combinations of the reasons above

(2) Antipsychotic Drugs Based on a comprehensive assessment of a
resident, the facility must ensure that -

(i) Residents who have not used antipsychotic drugs are not
given these drugs unless antipsychotic drug therapy is
necessary to treat a specific condition as diagnosed and
documented in the clinical record; and

(ii) Residents who use antipsychotic drugs receive gradual dose
reductions and behavioral interventions unless clinically
contraindicated, in an effort to discontinue these drugs

See 42 C.F.R. § 483.25(1).

6. MHA’s Role In The Submission Of Claims To Part D For Excluded
Atypical Antipsychotics.

78. Federal Regulations require that each Part D Sponsor have an established drug
utilization management and quality assurance programs See 42 C.F.R. § 423.153(a). A drug
utilization management program includes “policies and systems to prevent over-utilization of
prescribed medications” See 42 C.F.R. 423.153(b)(2).

79. Quality assurance programs include compliance by network pharmacies like the
l\/lHA pharmacies with State pharmacy practices and concurrent Drug Utilization Review
(“DUR”). The purpose of concurrent DUR is to ensure that a review of the prescribed therapy
is performed before each prescription is dispensed to a Part D beneficiary Concurrent DUR

must include a review of medication for drug-disease contraindications. See 42 C.F.R. §

383336 19
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

\OOO\IC\Ul-l>~L)->[\)»--¢

NNN[\)N[\)I\)N\\)»-*)-)-~v-¢»-e»-»-A»->_a>_a
OO\]O\§J\-PWI\)*_‘©©OO\]O`\UI-BL)JN>°“O

 

  

se 2:13-cV-O6154-GAF-F3V§/ Document 12 Filed 10/25/13 " age 20 of 65 Page |D #:262

423.153(c). Each State’s Pharmacy Act has subsequently also adopted this DUR requirement

80. The l\/ledicare Part D Sponsor’s Concurrent DUR must include at a minimum: (i)
screening for potential drug therapy problems due to therapeutic duplication; (ii) age/ gender
related contraindications; (iii) over-utilization and under-utilization; (iv) drug-drug interactions
(v) incorrect drug dosage or duration of drug therapy. (vi) drug-allergy contraindications; and
(vii) clinical abuse/misuse See 42 C.F.R. § 423.153 (c)(2).

4

81. Cl\/lS has specifically identified the use of claims processing systems as ‘an
effective tool for plans to monitor the delivery of the prescription drug benefit.” Cl\/lS has
identified as examples of claims systems edits used to deny or suspend payments “edits to
prevent payment of statutorily excluded drugs real time contraindications (i.e., drug-drug
interactions) sex and age edits compared to the drug prescribed.” See CMS’s Prescription
Drug l\/lanual Chapter 9 _ Part D Program to Control Fraud, Waste and Abuse, Section
50.2.6,3.1, aip. 44. 5

82. Given the “black box” warnings attendant to the dispensing of Atypical
Antipsychotics, a dispensing pharmacist must undertake a concurrent DUR, at the point-of-sale
to identify and/or prevent inappropriate drug therapy.

83. This obligation is heightened in the LTCF setting where the patients are
particularly vulnerable Notably, in the retail setting dispensing pharmacists are compensated
not only based upon the actual cost of the drug but through a contractually (or sometimes
legally) set “dispensing fee.” Because the DUR obligations are heightened in the LTCF
pharmacy setting LTCF pharmacies like the l\/lHA pharmacies charge dispensing fees that are
at least three times that of a typical retail dispensing fee _

84. Although l\/lHA does not directly dispense drugs to Part D beneficiaries ~ i.e., its
member pharmacies/pharmacists do so -- MHA exercises responsibility for, knowledge of, and
control over its member pharmacies/pharmacists dispensing activities

85. For instance in its contract with ProCare (Fox’s PBl\/l during part of the time

 

5 Available at littps://www.cms.gov/PrescriptioriDrugCovContra/Dowiiloads/PDBManual Chapter9 FWA.pdf.

assess 20
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

\O OO \\ O`\ &/`1 -i> L)J [\) )--\ v

I\)[\)[\.)[\)[\)[\)[\)(\)[\)>_¢»_¢>-a>_a»-¢»-A»-e>-¢)-e)-*
OONO\Lh-DL)JN*_‘O\QOO\IO`\LAJ>~WI\)>-*O

Case 2:13-cv-O6154-GAF-:§Pl]tév Document 12 Fi|eo| 10/25/13;"

 

 

   

a

ge 21 of 65 Page |D #:263

period at issue in this lawsuit), MHA agreed that its own obligations extend to pharmacists
performing on MHA’s behalf, i.e., the MHA member pharmacies Thus MHA assumed
responsibility for those pharmacies’ compliance with applicable laws regulations and rules
including the Part D rules The obligations assumed by l\/lHA on behalf of these MHA member
pharmacies specifically includes the above described DUR obligations Id. at § 3.1 (b).

86. l\/lHA has done far more than simply assume responsibility for its member
pharmacies’ compliance with their obligations under Part D. lndeed, through its clinical
software that it provides to its member pharmacies l\/IHA exercises control over the entire
dispensing processes including to Part D beneficiaries that it has subcontracted to those
member pharmacies in order to carry out the terms of its contractual and legal obligations to the
PBl\/ls the PDPS and CMS.

87. For instance l\/IHA provides its member pharmacists and pharmacies with its
“RxPertise” software MHA claims this gives them “the ability to determine coverage and
locate covered therapeutic alternatives quickly with the Prescription Drug Plan Formulary
Checker.”

88. Medicare will only cover drugs that have been approved for coverage under the
Sponsor’s specific Plan. See 42 U.S.C. § l395w-102(e)(3)(B); see also, CMS’s Requirements
for Submitting Prescription Drug Event Data, (April 26, 2006) at p. 20. 6 The pharmaceuticals
that have been approved for coverage under a specific Plan, including patient amounts payable
and other restrictions with respect to dispensing are compiled in what is referred to as the

73

Plan’s “formulary. Accordingly, pharmacists are required to not only undertake DURs but

9

also under Part D Rules a pharmacist must follow the Plan’s “formulary,’ including any
requirements for step-therapies or prior authorizations

89. To prevent “inappropriate payment for . . . excluded drugs or indications” Cl\/lS
has specifically required Plan Sponsors to implement in their formularies certain managed care

techniques including what are referred to as “step-therapy” and “prior authorization.” See,

 

6 Available at https://www.cmsgov/DrugCoverageClaimsData/Downloads/PDEGuidance.pdf.

383336 21
FIRST AMENDED QUI TAM COMPLAINT

 

 

C

h

\OOO\]O`\U!-l>b)[\)»-*

NN[\)[\)N[\)[\J[\)I\)¢-¢i-ai-a>_¢r--*»_»>-¢»-a>-¢)-¢
OO\]O\L/\-DW[\)*-‘O@OO\\O\LJ`!-P~WN>_‘O

3

 

 

Se 2:13-cv-O6154-GAF;P3‘@§V Document 12 Filed 10/25/13:;:§‘"'; §ge 22 of 65 Page |D #:264

Cl\/lS’s Prescription Drug Benefit l\/lanual, Ch. 9, § 70.2.3 rev.2, 04-25-2006. 7

90. “Pr‘ior authorizations” are requirements in a Part D Plan’s prescription drug
formulary for a health care provider or beneficiary to contact the Part D Plan Sponsor and
obtain approval from the Plan before the pharmacist can dispense certain pharmaceuticals This
requirement is typically imposed for pharmaceuticals that are subject to abuse or for which
alternative and less costly drugs or treatments are available

91. To properly perform step-therapy and prior authorizations the pharmacist must
possess and take into account the diagnosis of the individual patient Accordingly, in order to
effectively assist the member pharmacies in carrying out its managed care obligations (as MHA
claims it does), the l\/lHA software must take into account the actual diagnosis of the particular
beneficiary

92. As demonstrated below, MHA intentionally and recklessly ignored that diagnosis
data and failed to properly require its member pharmacies to utilize diagnosis information when
making both clinical determinations and determinations on what entity (Part D or the LTCF)
should be billed for the Atypical Antipsychotics

C. MHA Illegally Billed CMS For Drugs That Were Not Covered By Part D

93. Not all drugs are eligible for reimbursement under l\/ledicare Part D. lndeed,
l\/ledicare will only cover those drugs that are: (a) prescribed for a “medically-accepted
indication;” and (b) that have been approved for coverage under the Sponsor’s specific Plan.
See 42 C.F.R. § 423.100; 42 U.S.C. §§ l395w-102(e)(1), 1395w-102(e)(3)(B); see also, CMS’s
Requirements\for Submitting Prescription Drug Event Data, (April 26, 2006) at p. 20. 8

94. l\/ledically-accepted indications under Part D include uses approved by the Food
and Drug Administration (“FDA”), and only those “off-label” uses that are supported by certain
compendia (privately-published books or electronic databases that provide information on
prescription drugs to healthcare providers and pharmacists). These compendia include: the

Americarr Hospital Formulary Service Drug lnformation; the United States Pharmacopeia Drug

 

7 Available at https://www.cms.gov/DiugCoverageClaimsData/Downloads/PDEGuidance.pdf.

8 Available at littps://www.cms. gov/DiugCoverageC1aimsData/Downloads/PDEGuidance.pdf.

333886 22
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

\OOO\IO`\U\-i>~b~)i\.)»-*

l\-)[\)I\)I\)I\)l\)l\)l\)[\)>-~»-‘>-¢)-*>-»-i»-»».¢~.¢,._i
OO\IO\L/r-l¥b~)l\)>-‘O\OOO\]O\LA-i>-L)J[\)-‘C

 

 

se 2:13-cV-O6154-GAF-fj\i§/ Document 12 Filed 10/25/13 a§ge 23 of 65 Page |D #:265

lnformation or its successor publications and Thomson’s DrugDEX lnformation System. See
42 U.S.C. §§ l395w-102(e)(4)(A)(ii), l396r-8(g)(1)(B)(i). These compendia are updated
quarterly.

95. Under Part D, Cl\/IS has identified six “protected classes” of pharmaceuticals
immunosuppressants (for prophylaxis of organ transplant rejection), antipsychotics
antidepressants, anticonvulsants antineoplastics and antiretroviral drugs

96. For Part D beneficiaries “currently taking” any of these drugs PDP Sponsors are
expressly prohibited from employing certain managed care techniques such as step therapy and
alternative treatments

97. Although antipsychotics are protected classes of drugs that designation does not
broaden the scope of their coverage under l\/ledicare Part D. lndeed, antipsychotics like all
other drugs are only reimbursable when used for a medically accepted indication See 42
U.S.C. § l395w-102(e)(l); See also, 42 C.F.R. § 423.100.

98. From 2006 to the present, l\/IHA has intentionally and knowingly billed for
Atypical Antipsychotic drugs dispensed to Part D beneficiaries who did not suffer from a
condition for which the FDA has approved the drugs or for which the compendia otherwise
supported the use of the drugs -- including those to whom Atypical Antipsychotics were
dispensed to beneficiaries suffering from conditions such as dementia that are subject to the
FDA black box warnings described above

99. Dubiously, qu)rexa and Risperidone two of the eight Atypical Antipsychotics
appeared in the DrugDex compendia for one quarter each in 2008 as having a medically-
accepted indication for one specific type of dementia known as Dementia of the Lewy Body
Type or “Lewy Body Dementia.” j

100. None of the patients who were dispensed one of those Atypical Antipsychotics by
MHA through its member pharmacies presented with a diagnosis of Lewy Body Dementia, nor
could they have Specifically, dementia of the Lewy Body Type is a form of dementia that can
only be diagnosed through an autopsy -- obviously after the death of the patient See

http://www.lbda.org/content/diagnosis (accessed on lanuary 13, 2012).

383386 23
FIRS'I` AMENDED QUI TAM COMPLAINT

 

 

 

 

Cz

\DOO\]O\Ul-{>L»J[\)>_¢

Nl\)[\)[\)[\)\\)[\)[\)[\)*-*»-*»-*-*>-¢)_*>-¢»_ap-~>-_i
OO\IO\U-l>WNHO\OOO\]O\Lh-BL)JNt-*O

1

 

   

Se 2:13-cV-O6154-GAF-,;5P‘j’\i§;\/ Document 12 Filed 10/25/13 qge 24 of 65 Page |D #:266

1

101. l\/loreover, MHA’s pharmacists had access to diagnostic information regarding
each Part D beneficiary residing in an LTCF. Yet, MHA nevertheless failed to take any steps
whatsoever, such as configuring its computer software or otherwise requiring MHA member
pharmacies to determine whether such drugs were dispensed for a medically accepted
indication

102. At the very least, MHA acted with reckless disregard and deliberate ignorance as
to whether an Atypical Antipsychotic was a covered Part D drug (i.e., because the diagnosis
presented a medically accepted indication).

103. Accordingly, l\/lHA caused to be submitted to Cl\/lS thousands and thousands of
claims where there was no medically accepted indication Those claims should have been
submitted to the LTCF, making all such claims false

D. l\/[HA Knowingly Caused to Be Submitted Claims For Drugs That Were

Dispensed To Part i) Beneficiaries As A Result Of Illegal Kickbacks.

104. Compliance with the Anti-Kickback Statute (“AKS”), 42 U.S.C. § l320a-7b(b),
is a condition of payment under l\/ledicare, and each claim made in violation of the AKS is a
false claim.

105. The AKS was enacted to protect patients and as well as Federally~sponsored
healthcare programs such as l\/ledicare and Medicaid, from fraud and abuse by curtailing the
corrupting influence of money on healthcare decisions The primary purpose of the statute is to
prevent kick-backs or payoffs to those who can influence healthcare decisions The statute
attempts to remove potential economic incentives that could influence healthcare providers to
refer or recommend medical goods and services that are medically inappropriate medically
unnecessary, of poor quality, or even harmful to a patient population

106. A violation of the AKS constitutes a false and fraudulent claim under the Federal
FCA.

107. The AKS prohibits any person or entity from making or accepting payment to
induce or reward any person for referring recommending or arranging for the purchase of any

item for which payment may be made under a Federally-funded healthcare program. With

333886 24
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

\DOONO\U\-l>b~)l\)>-a

i\)l\)l\)[\)l\)[\)>-¢»-~>-¢i--\)-¢i_i»_a>-d»-‘>-‘
LJ\-l>L)J{\)'-‘O©OO\]O\UI-l>b~)l\)t_‘©

26

CBLLG 2213-CV-06154-GAF-::P"'"z

 

 

   

Document 12 Filed 10/25/13 age 25 of 65 Page |D #:267

some exceptions the statute prohibits kickbacks bribes inducements rewards and other
economic incentives and remuneration that induce physicians to refer patients for services or
recommend purchase of medical supplies that will be reimbursable under government-funded
healthcare programs such as l\/ledicare and Medicaid. Both sides of the kickback relationship
are liable under the statute

108. ln addition, compliance with the AKS in the first instance is a precondition to
participation as a healthcare provider under the l\/ledicare, l\/ledicaid, CHAMPUS/TRICARE,
CHAMPVA, F ederal Employee Health Benefit Program, and other federal healthcare
programs Accordingly, all participating healthcare providers must certify that they have
complied with the AKS, in addition to other applicable laws rules and regulations

109. As detailed below, l\/IHA violated the AKS in several ways which rendered the
resulting claims false

110. The submission of claims for those drugs also violated the FCA because they
were the result of illegal kickbacks

1. Rebates Paid To MHA By The Manufacturers Of ri`he Atypical
Antipsychotic, And Rebates Paid By MHA To Its Member
Pharmacies, Were Illegal Kickbacks Resulting In The Submission ()f
False Claims

lll. MHA was induced into creating the conditions for the improper dispensing of
Atypical Antipsychotic drugs and in turn the illegal submission of those claims to CMS,
because of volume-based “rebates” it received directly from drug manufacturers in exchange
for dispensing those drugs -- which it shared with its l\/lHA member pharmacies

112. The Part D program relies on Plan Sponsors to negotiate drug manufacturer
rebates and other price concessions to reduce the cost of the program to beneficiaries and the
Government. Price concessions are payments that decrease a Sponsor’s drug costs See 42
CFR § 423.308.

113. Sponsors pass rebates and other types of price concessions on to beneficiaries
and the Government in several ways Sponsors must include expected rebates and other price

concessions in their bids which lowers the premiums beneficiaries pay for drug coverage

383886 25
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

\OOO\)O`\UIJ>~§)J[\J\-‘

[\)[\)N[\)[\)l\)i\)[\)[\)>-*>-d»-d>-‘>-e»-i»-~»-¢>-i»~
OO\]O\U\-PWNHO©OO\]O\L/l-L\DJI\)*~‘O

 

se 2:13-cV-O6154-GAF-§‘ji“!§/ Document 12 Filed 10/25/13 Pa:ge 26 of 65 Page |D #:268

Sponsors may pass the cost savings derived from rebates directly on to beneficiaries at the time
they purchase drugs these are called point-of-sale rebates See 70 Fed. Reg. 4195, 4244 (Jan.
28, 2005).

114. Additionally, Sponsors pass rebates on to the Government by reporting their
actual rebates to CMS, which then uses them to adjust Part D payments in a process called
“payment reconciliation.” See 42 CFR §§ 423.315 and 423.343. Specifrcally, Sponsors must
include in their bids all price concessions that are not passed on to the beneficiary at the point
of sale See CMS’s instructions for Completing the l\/ledicare Prescription Drug Plan Bid
Pricing Tool for Contract Year 2008, April 2007, p. 26.

1'15. Before the beginning of the Plan year, Plan Sponsors must provide Cl\/lS with
information about all rebates that they expect to receive as a part of their bids Specifically,
Sponsors must include in their bids all price concessions that are not passed on to the
beneficiary at the point of sale See CMS’s instructions for Completing the l\/ledicare
Prescription Drug Plan Bid Pricing Tool for Contract Year 2008, April 2007, p. 26.

116. These bids provide Cl\/lS with an estimate of the cost to provide the benefit to
each beneficiary CMS uses the bids to calculate beneficiary premiums for each Plan.
Sponsors must report any anticipated rebates to Cl\/IS in the bids to reduce beneficiary
premiums See 42 U.S.C. § l395w-ll3.

117. When Sponsors do not report rebates in their bids both the Governrnent and
beneficiaries overpay for the benefit Specifically, during reconciliation, CMS compares the
monthly payments it makes to the Sponsor and the premiums charged to beneficiaries to the
Sponsor’s costs To do this Cl\/IS requires Sponsors to provide information about the actual
rebates they receive in reports known as “Direct and indirect Remuneration Reports for
Payment Reconciliation,” or “DIR,” hereinafter referred to as “Rebate Reports” See, e.g.,
Cl\/lS, Final l\/ledicare Part D DlR Reporting Requirements for 2008 Payment Reconciliation,
June 8, 2009, p. l; See also, U.S.C. § 1395w-115(f)(l)(A).

118. Accordingly, the rebate amounts that Sponsors must report reduces the amounts

that the Goveinment pays the Sponsors for providing the benefit

383386 26
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

Ca

\OOO\]O\£/l-f>~hJ[\)»-i

I\)i\)[\)l\)[\)l\)i\)[\)[\)»-*>-d>-d»-#>-i>-e»-e»-d)_l»_a
OO\]CP\K/`i-B~LJJ[\)*_‘O\OOO\iO`\§/i-DL)J[\)*_‘O

l'\

e 2:13-cV-O6154-GAF-|§11V€1§ Document 12 Filed 10/25/13 Page 27 of 65 Page |D #:269

119. As borne out by the present case CMS has long recognized that such rebates
from drug manufacturers provide dangerous and costly incentives for dispensing unnecessary
medications to l\/ledicare beneficiaries See, e.g., Cl\/lS’s l\/ledicare Part D Reporting
Requiremenis, Err. ian. i, 2011 ar p. 22, § xii9

120. Accordingly, LTCF pharmacies such as l\/lHA were and are required to disclose
such rebates to PDP Sponsors and they in turn were required to report them to CMS. See e.g.,
CMS’s Weekly Bulletin, l\/lay 12, 2006]0; see also, CMS’s l\/ledicare Part D Reporting
Requirements eff. Jan. 1, 2011 at p. 21, § Xl (Cl\/IS requires that Plan Sponsors (and
accordingly downstream pharmacies) disclose each and every rebate received from a drug
manufacturer).

121. MHA never disclosed to the PDP Sponsors the PBl\/ls or CMS that it was
receiving rebates from the manufacturers of the Atypical Antipsychotics

122. Not only was l\/lHA specifically required to disclose that it was receiving any
such rebates it was expressly prohibited from retaining the rebates that it received from drug
manufacturers

123. For example in its contract with ProCare rebates were expressly excluded from

l\/lHA’s and its member pharmacies’ permitted reimbursement as follows:

“Section 6--Reimbursement

ln all cases the Pharmacy Provider will receive as reimbursement for drugs
dispensed an amount equal to the following:

' the lesser of the following amounts Pharmacy Provider’s Usual and
Customary Charge less any mutually agreed discount percentage the
Pharmacy Provider’s submitted cost, AWP less the applicable
discount percentage calculated on the date of service or fill date or the
agreed MAC price as calculated on the date of service or fill date

' plus the applicable dispensing fee (not applicable to Pharmacy
Provider’s Usual and Customary Charge).

 

Available at
https ://www.cms. Oov/PrescriptionDrugCovContra/Downloads/CYZOl lPartDReportingRequirements0 l 201 l.pdf.

m Available at: littps://www.cms.gov/PrescriptionDrugCovContra/downloads/WeeklvBulletinwOS.12.06.pdf.

383836 27

 

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

\OOO\]O\U`¢-I>Wl\)»_¢

[\)[\)[\)[\.)[\.)[\)»-¢>-e»--\»--\»-»)-d»-e)-d»-d>-‘
Lh.l>WN*“O\OOO\]O`\§/\J>U)N**‘O

26

 

se 2:13-cV-O6154-GAF-?3W Document 12 Filed 10/25/13 age 28 of 65 Page |D #:270

’ plus any approved submitted federal, state or local tax.

6 less the Covered Person’s applicable co-payment, co-insurance and/or
deductible if any.

~ less any contracted or standard processing fee as applicable

124. Under the AKS:
(A)

(l) Whoever knowingly and willfully solicits or receives any remuneration
(including any kickback, bribe or rebate) directly or indirectly, overtly or
covertly, in cash or in kind -

(2) Whoever knowingly and willfully offers or pays any remuneration
(including any kickback, bribe or rebate) directly or indirectly, overtly or
covertly, in cash or in kind to any person to induce such person ~

>Z<>l<>l<

(B) in return for purchasing leasing ordering or arranging for or
recommending purchasing leasing or ordering any good, facility, service or
item for which payment may be made in whole or in part under a Federal
health care program,

. . shall be guilty of a felony and upon conviction thereof, shall be fined not
more than $25,000 or imprisoned for not more than five years or both.

See 42 U.S.C. § l320a-7b (emphasis added).

125. The undisclosed rebates paid to l\/lHA by the Atypical Antipsychotic
manufacturers were “rebates” received by l\/lHA in return for its arranging for the purchasing of
Atypical Antipsychotics for which payment was made in whole or in part under l\/ledicare Part
D.

126. Because l\/lHA received “rebates” in return for the volume of excluded Atypical
Antipsychotics dispensed by its member pharmacies all of the resulting claims for payment
were false and fraudulent

127. Moreover, MHA also violated the AKS by paying rebates to its member
pharmacies which directly incentivized those pharmacies to dispense Atypical Antipsychotics
See http://mhainc.com/templates/c3-12.aspx?id=49&terms=LTC (MHA provides its members

with “performance-based reimbursements for formulary management and generic therapy

383886 28
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

Cz

\OOO\]O\Ui-LL)J\\)>-A

l\)[\.)[\)[\)[\)N[\)[\)[\)>-*>-¢»-d»-ei-¢>-e»-¢>-¢>-¢>_‘
OO\]O\L/l-L\-L)JN>-*O\OOO\]O`\§/\-l>~b~)i\)>-*@

 

se 2:13-cV-O6154-GAF-;Pjt'i§y Document 12 Filed 10/25/13 Page 29 of 65 Page |D #:271

management” or in other words volume based rebates).

128. Such payments constituted remuneration or ""rebates” that were used to induce the
member pharmacies to dispense Atypical Antipsychotics for purposes of the AKS.
Accordingly, all claims for payment for such drugs were false and fraudulent

129. From January l, 2006 to the present l\/IHA knowingly caused to be submitted
false claims that were the result of illegal kickbacks paid by the manufacturers of the Atypical
Antipsychotics and as a result of kickbacks paid by MHA to its member pharmacies

2. The Waiver Of Co-Pays By MHA Was An Illegal Kickback

130. Another crucial component in preventing Medicare fraud, waste and abuse is the
use of beneficiary co-pays.

131. Copayments are small amounts paid by Part D Plan members for prescription
drugs

132. Although individual copayment amounts may be small, they are a critical
component of cost containment in l\/ledicare Part D because they ensure that Part D
beneficiaries have an incentive to monitor claims for drugs made on their behalf and to request
less expensive drugs

133. The amounts and circumstances under which co-pays are charged are set by Part
D Plans’ formularies which are submitted to and approved by CMS prior to each Plan year and
communicated to pharmacies

134. Copayments called for in a PDP’s formulary may be waived under certain very
limited circumstances i.e., typically for patients who receive low-income subsidy payments
and “dual-eligibles” (persons receiving benefits under both l\/ledicare Part D and l\/ledicaid).

135. At all times relevant to this Complaint, Fox’s Cl\/lS-approved formularies
required Part D Plan l\/lembers to pay copayments for certain prescription drugs -- including but
not limited to the above referenced Atypical Antipsychotics

136. From January l, 2006 to the present l\/lHA failed to collect co-pays required
under the relevant formulary involving patients who were not eligible to have their co-pays

waived including but not limited to those for whom Atypical Antipsychotics were prescribed

333886 29
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

Ca

fl`\

\COO\!O`\Ul-Bwl\.)»-a

[\)[\)[\~)N[\)\\)NN[\)»-‘»-e)_e>-*--d»-~»-¢»->_a»_i
OO\IO\m-i>-wl\J>-*C\DOO\IO\Ur-I>L)JN>-‘O

 

 

      

 

e 2:13-cv-O6154-GAF-; W Document 12 Filed 10/25/13 afge 30 of 65 Page |D #:272

137. Under the AKS:

>i<$>!<

(2) whoever knowingly and willfully offers or pays any remuneration (including
any kickback, bribe or rebate) directly or indirectly, overtly or covertly, in cash or in
kind to any person to induce such person -

>l<>l<>}<

(B) to purchase lease order, or arrange for or recommend purchasing leasing or
ordering any good, facility, service or item for which payment may be made in
whole or in part under a Federal health care program,

. . . shall be guilty of a felony and upon conviction thereof, shall be fined not more than
825,000, or imprisoned for not more than five years or both. See 42 U.S.C. § l320a-
7b(b) (emphasis added).

138. Through its own software MHA caused its member pharmacies to waive
copayments as a means of inducing beneficiaries to purchase or receive prescription drugs for
which payment was made in whole or in part under Medicare Part D.

139. l\/lHA’s actions violated the AKS, and rendered the resulting claims to l\/ledicare
false

3. The Submission Of Claims To Part D For ()ff-Label Atypical
Antipsychotics Constituted Illegal Kickbacks To The LTCFs.

140. Not only were rebates the source of illegal kickbacks but MHA also violated the
AKS by offering financial inducements to LTCFs to contract with its member pharmacies
This was in violation of the AKS.

141. Under the AKS:

>i<>l<>l<

(2) whoever knowingly and willfully offers or pays any remuneration
(including any kickback, bribe or rebate) directly or indirectly, overtly or
covertly, in cash or in kind to any person to induce such person ~

>k>!<>l<

(B) to purchase lease order, or arrange for or recommend purchasing leasing
or ordering any good, facility, service or item for which payment may be
made in whole or in part under a Federal health care program,

383836 30
FIRST AMENDED QUI TAM COMPLAINT

 

 

Ci

r\~i

\OOO\]O`\U`¢-i>~b~)[\)»-*

l\)[\)i\)[\)[\)[\)l\)[\)[\)>-e»-¢»-‘»-¢»-#»-\)-‘>->-\>-¢
OC\ICF\§JI-l>b)l\)>-‘C>\OOO\IO`\L/i-bw[\)*-‘O

    

se 2:13-cv-o6154-GAF-§ w Documem 12 Filed 10/25/13 age 31 of 65 Page lD #:273

 

. . shall be guilty of a felony and upon conviction thereof, shall be fined not
more than $25,000, or imprisoned for not more than five years or both. See 42
U.S.C. § 1320a-7b(b) (emphasis added).

142. Remuneration under the AKS includes anything of value including the
opportunity to bill for services By allowing LTCFs to receive payment for drugs that were not
covered, MHA offered remuneration to the LTCFs to induce them to encourage the writing and
prescribing of off-label prescriptions for Atypical Antipsychotics

143. From January l, 2006 to the present, in thousands of instances MHA knowingly
offered remuneration to LTCFS to induce the dispensing of Atypical Antipsychotics to LTCF
residents -- claims for which l\/lHA caused to be submitted to CMS under Part D, a federally
funded health care program

144. Specifically, as stated above where a drug is prescribed to a resident of an LTCF
and the cost of drug is not funded by a health insurance payment, i.e., because the cost of the
drug is not covered under l\/ledicare Part D, it is the responsibility of the LTCF to absorb that
cost See 11 62, supra

145. Recognizing that LTCFs would not willingly bear the costs of the expensive
Atypical Antipsychotics when there were alternative lower cost first generation antipsychotics
that would serve a similar purpose MHA provided financial incentives to the LTCFs to arrange
for the administering of Atypical Antipsychotics to their residents Specifically, l\/lHA agreed
to submit non-covered, off-label claims for Atypical Antipsychotics to CMS, so that LTCF was
not responsible for the cost of the non-covered drugs

146. ln turn, as detailed above l\/lHA received manufacturer rebates for dispensing
Atypical Antipsychotics a discount it was able to share with the LTCFs as a further inducement
to improperly prescribe non-covered use of the drugs

147. ln sum, MHA knowingly violated material conditions of payment for l\/ledicare
claims when it engaged in the above described kickback schemes including by receiving
manufacturer rebates waiving co-pays and inducing LTCFS with more opportunities to bill.

lts conduct rendered the resulting claims false and fraudulent, in violation of the FCA.

383886 31

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

©O<>\IO\U!-l?>&)~>l\)>-d

i\)l\.)[\)[\)[\)[\)l\)[\)[\)>-¢»-~>-¢r-¢)-¢>-a>-a>-¢r-*>_¢
OO\\O\U'l-i>~wl\)>-*O\OOO\]U\KALWN~_‘C

 

 

se 2:13-cV-O6154-GAF-fji?§/ Document 12 Filed 10/25/13 age 32 of 65 Page |D #:274

D. lVIHA’s Illegal and Fraudulent Activity Caused The Submission Of False
And Fraudulent Claims And False Records Material To False Claims

l. Summary of the Part D Process - Adjudicating Prescriptions

148. When a downstream entity such as MHA dispenses drugs to a l\/ledicare Part D
enrollee l\/IHA submits a claim electronically to the enrollee’s Part D Sponsor (often via a
PBl\/l), which is comprised of more than 130 fields of information The fields in the claim file
submitted by the pharmacy are based upon standardized fields set by the National Council for
Prescription Drug Programs (“NCPDP”).

149. Submission of the claim by the pharmacy (including by l\/lHA) to the PDP
Sponsor of the PBl\/l typically takes place via real-time data transmissions of the electronic
claims in the same or materially similar format

150. Where the Part D Plan Sponsor uses a PBl\/l, the PBl\/l reviews the pharmacy’s
initial data submission to conduct pre-dispensing/point-of-sale reviews of the Part D claim as
required by Federal law and Regulations and pursuant to the contract between the Plan Sponsor
and the PBl\/l.

151. lf the claim for the prescription is not rejected by the Sponsor or PBM, the
pharmacy receives payment authorization and co-pay information The pharmacy should then
dispense the prescription to the Part D beneficiary in accordance State pharmacy laws The
beneficiary pays the co-pay to the pharmacy and receives the prescription

152. At the time of the initial claim submission, as a condition of payment the
pharmacy transmits to the Plan Sponsor or PBl\/l a claim for payment for that prescription
consisting of certain data elements required by CMS that are specified by contract between the
pharmacy and the Plan Sponsor or PBl\/l.

153. As a further condition of payment, l\/lHA must ensure that the information
contained in the NCPDP data that is used to create the PDEs is accurate complete and truthful
and that it has complied with all applicable State and Federal laws rules regulations and
contract provisions Based on this assurance the PDP Sponsor certifies the accuracy,

completeness and truthfulness of the data to CMS.

383886 32
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

\OOO\]O'\U!-l>b~)l\)>_¢

l\)N[\)l\)l\)[\)[\)[\.)[\))_¢>-¢r-a>_¢>-¢»-d»-a>-¢)--*>-i
OO\iO\Kh-B~UJ[\)P“O©OO\IO\Kh-PDJN>-"O

se 2:13-cV-O6154-GAF-Fjl?§/ Document 12 Filed 10/25/13 P§tge 33 of 65 Page |D #:275

154. Sections 1860D-15(c)(1)(C) and (d)(2) of the Ml\/IA require Sponsors to submit
data and information necessary for CMS to carry out payment provisions Accordingly, the
Part D Sponsor then uses the information provided by the LTCF pharmacy, reformats it, and
submits it to Cl\/lS as a Prescription Drug Event (“PDE”). The PDE record contains
prescription drug cost and payment data that enables Cl\/lS to make payments to Plans and
otherwise administer the Part D benefit Throughout the payment year, each time a Medicare
beneficiary has a prescription filled under Part D, the Sponsor receives a claim from the
pharmacy and notifies CMS of the event via PDE data, including the cost the Sponsor has
incurred

155. As described in more detail below, Cl\/IS uses all of the PDE information at the
end of the payment year when it reconciles its advance payments to the Part D Sponsor with the

costs the Sponsor has incurred throughout the year.

2. CMS Part D Payments Based On PDE Claims Data Subrnitted To
CMS

156. The amount of money expended by Cl\/lS for prescription drugs purchased by Part
D beneficiaries is materially affected by each and every PDE submitted by or on behalf of a
PDP. ln short, the more the “drug-spend” for each beneficiary, the higher the amount paid by
the Government either through a direct subsidy to the beneficiary, or through payments to the
Plan Sponsor and advances and reconciliations. Thus the submission of PDEs for prescriptions
that should not have been dispensed in the first instance always materially affects the amount
paid by CMS. Payments for such claims are made by CMS in several ways described below.

157. Sections 1860D-14 and 15 of the Ml\/lA provide that Cl\/lS pay Plans for Part D
benefits through subsidies (direct and indirect) and risk sharing

158. For private fee-for-service Plans (as defined by § 422.4(a)(3)) that offer qualified
prescription drug coverage CMS determines the amount of reinsurance payments to be made to
them as provided under § 423.329(c)(3). 42 C.F.R. § 423.315(g).

159. Throughout the year, Cl\/lS makes prospective payments to Part D Sponsors for
three subsidies based on the Sponsors’ approved bids: (l) the direct subsidy (a monthly

383386 33

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

\OOO\]O'\U`I~LL)JN»-i

[\){\)[\)[\)N>_A»--¢>_i)--i»-\>--\>-\>-¢>_-\»--a
-l>L»)l\)>-‘O©OO\]O\U!-D~Wl\)>'-*O

l

   

se 2:13-6v-06154-eAF-.§P:i`v':y Documem 12 Filed 10/25/13 age 34 of 65 Page lD #:276

capitated payment) designed to cover the Sponsor’s cost of providing the benefits (2) the low-
income cost-sharing subsidy (the Federal Government’s portion of cost-sharing payment for
certain low-income beneficiaries); and (3) the reinsurance subsidy (the Federal Government’s
share of drug costs for beneficiaries who have reached catastrophic coverage).

160. After Cl\/lS reconciles a Plan’s low-income subsidy and reinsurance costs it then
determines risk-sharing amounts owed by the Plan to CMS, or by Cl\/lS to the Plan arising out
of the Plan’s direct subsidy bid Risk-sharing amounts involve calculations based on whether,
and to what degree a Plan’s allowable costs per beneficiary exceeded or fell below a target
amount for the Plan by certain threshold percentages (commonly called the “Part D risk
corridor”). See 42 C.F.R. § 423.336. This risk corridor calculation is materially affected by the
amount the Plan expended to pay claims made by pharmacies during that time period

161. A Part D Sponsor may also receive other payments from Cl\/IS resulting from
year-end reconciliations and adjustments Pursuant to 42 C.F.R. § 423.343, after the close of
the Plan year, CMS is responsible for reconciling the prospective payments to the Part D
Sponsor’s actual allowable costs to calculate final payments and risk sharing amounts Cl\/lS
determines the Plan’s actual allowable costs by relying upon certain data elements submitted by
Sponsors in their PDE records i.e., CMS relies records for each and every PDE claim that was
paid

162. CMS specifically relies upon and uses the following PDE cost and payment fields
in its year end reconciliation: gross drug cost above out-of pocket threshold, gross drug cost
below out-of-pocket threshold, low-income cost-sharing subsidy, and covered D Plan paid
amount (“the four PDE data elements”). The Sponsor, or its PBl\/l, calculates the four data
elements from the point-of-sale claims data submitted by the pharmacy by using instructions
provided by CMS.

163. CMS pays a direct subsidy (a capitated payment) to the Part D Plan (“PDP”) in
the form of advance monthly payments equal to the Part D Plan’s standardized bid, risk
adjusted for health status as provided in § 423.329(b), minus a monthly beneficiary premium as

determined in § 423.286. 42 C.F.R. § 423.315(b). ln other words Cl\/lS pays a monthly sum to

383886 34

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

Cz

\DOO\]C\U!-£>~L»JN>-‘

[\)I\)l\)[\)l\)l\)i\)l\)[\)»->-“»-‘>->-A»-\»->-a»-»>-
OO\]O`\U\~I>L»JI\)>-‘O\DOO\]O`\L/l-l>b~)l\)>*‘©

   

rse 2:13-cv-o6154-eAF-:; w Documem 12 Filed 10/25/13 ' age 35 of 65 Page lD #:277

the Part D Plan Sponsor for each Part D beneficiary enrolled in the Plan.

164. At the end of the payment year, through retroactive adjustments and
reconciliations Cl\/lS also reconciles payment year disbursements with updated enrollment and
health status data, actual low-income cost-sharing costs and actual allowable reinsurance costs
as provided in § 423.343. 42 C.F.R. § 423.315(®. ln other words CMS reconciles payments
received by Part D Plans at the end of the year to determine whether additional funds are due to
or from the Part D Plan Sponsor. lf Cl\/lS underpaid the Sponsor for low-income subsidies or
reinsurance costs Cl\/IS makes up the difference lf CMS overpaid the Sponsor for these costs
it recoups the overpayment from the Part D Sponsor.

165. Accordingly, Cl\/lS uses each and every claim submitted as a PDE to determine
not only future payments but also to reconcile past payments to the PDP Sponsors Thus
under Part D, Cl\/IS determines capitated payments for each Plan based, at least in part, on the
Plan’s alleged past expenses

166. l\/loreover, under Part D, beneficiaries coverage varies by their cost of drug usage
over the course of a Plan year:

l. Deductible: As with most insurance plans beneficiaries do not receive
any benefits under Medicare Part D until their out-of-pocket costs for
prescription drugs meets a modest deductible amount (e.g., $310 for
2010).

2. lnitial Coverage: Once a beneficiary meets his deductible he receives
prescription drug benefits up to an annual cap ($2830 for 2010).

3. Coverage Gap (the “Doughnut Hole""): After the beneficiary reaches
the cap of the initial coverage he falls into a coverage “gap” until his
total out-of-pocket costs reach a threshold for catastrophic coverage
(i.e., 84550 for 2010).

4. Catastrophic Coverage: After the beneficiary meets the threshold
amount, he is again entitled to prescription drug benefits under a
reinsurance scheme pursuant to which Cl\/lS pays 80% of drug costs
the Part D Sponsor pays 15%, and the beneficiary pays 5%.

167. Accordingly, in addition to the direct subsidy, through low-income subsidies as
described above Cl\/lS makes payments to the Part D Plan for premium and cost sharing

subsidies on behalf of certain subsidy-eligible individuals as provided in § 423.780 and §

383386 35
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

 

\DOO\]O\U!-¥>~Wl\)>_a

l\)[\)[\)[\)l\)[\)[\)[\)l\))~e»-¢»-\»-a»-a>-¢>-d»-e>-e»-e
OO\]O\§/l-l>b)[\)>--\O\OOO\IO\£/`I-l>~b~)[\))--‘O

 

   

S€ 2113-CV-OGl54-GAF;:P:1Y:;V Documem 12 Filed 10/25/13 a

ge 36 of 65 Page |D #:278

423.782. These types of premium and cost-sharing subsidies for qualifying low-income
individuals are called “Low-lncome Cost Sharing Subsidies” (“LlCS”), and are documented
and reconciled using PDE data submitted to Cl\/IS. See CMS’s Updated lnstructions:
Requirements for Submitting Prescription Drug Event Data (PDE), 4.27.2006, page 41, Section
ii).i.ll

168. Thus in addition to a monthly insurance premium paid to the Part D Sponsor by
Cl\/lS and Part D beneficiaries (this is called a “capitated” rate), Cl\/lS may be required to make

additional payments to (or collect monies from) a Part D sponsor where:

l. a beneficiary with a low income is entitled to a subsidy from Cl\/lS,
causing the Government to pay costs that otherwise the beneficiary
would bear, such as copayments and, within the coverage gap, out-of-
pocket prescription costs

2. a beneficiary is entitled to catastrophic coverage the government pays
80% of the beneficiary’s drug costs through reinsurance paid to the
PDP Sponsor. ln essence CMS reimburses the Plan for prescriptions
for such beneficiaries on a nearly fee-for-service basis

169. Because most Part D enrollees who reside in LTCFs do so because they suffer
from poor health, the overwhelming majority of such enrollees each year reach the annual
catastrophic coverage trigger (for 2011, $4,050.00), after which the Federal Government
directly reinsures the Plan on an individual enrollee basis against 80% of further prescription
drug costs

170. Consequently, although many Part D enrollees’ drug costs are covered by the
capitated (per enrollee) subsidy, the majority of long-term care patients enrolled in Part D have
the bulk of their claims directly and individually reimbursed by the Federal Government
through individual catastrophic coverage reinsurance or through low-income cost-sharing
payments

171. For enrollees who have reached the level of catastrophic reinsurance l\/lHA
caused each and every of the previously alleged false or fraudulent costs to be submitted by Fox

for reimbursement and l\/lHA and/or its member pharmacies ultimately received payment for

 

ll Available at https;//www.cms.gov/DrugCoverageClaimsData/Downloads/PDEGuidance.pdf.

333886 36
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

©OO\IO`\§/\~i>-L)J[\.)>-

N[\)[\){\_)[\)[\)»--»-¢>-¢>-a)_a>-\»--\)-d>-‘)-\
Ur~l>~b$l\.)>-*C>\OOO\]O\UI-l>bd{\)t-‘O

26

Ciibe 2:13-cV-O6154-GAF-§Pijti;i/ Document 12 Filed 10/25/13 Page 37 of 65 Page |D #:279

them. Accordingly, each and every improper claim for an Atypical Antipsychotic submitted to
Cl\/lS as a PDE, regardless of whether it was during the deductible term, initial coverage teiin,
doughnut hole or catastrophic coverage affected the amounts paid by CMS. The more claims
dollars spent, the more CMS paid As detailed below, through data in the possession of the
Relator, one can determine the monetary amount of that effect upon the Government for each
claim.

172. Not only was it improper and illegal for l\/IHA to dispense through its member
pharmacies and bill for the Atypical Antipsychotics to patients without a medically-accepted
indication, but as described above MHA’s improper acts caused serious harm to Part D
beneficiaries -- including the inducement of strokes Parkinsonism and other terrible side
effects that the FDA has warned about -- and has since 2005 specifically identified in the black
box warnings

173. MHA, through its member pharmacies dispensed the Atypical Antipsychotics
knowing (or with reckless disregard~for, or deliberate ignorance of the fact) that the natural and
reasonably foreseeable result of its dangerous and unnecessary prescribing of Atypical
Antipsychotics would be the now-necessary (and profitable) billing for additional drugs that the
Part D beneficiaries would now need to treat the'harmful side effects caused by the Atypical
Antipsychotics

174. Such medications include those used to treat stroke Parkinsonism, diabetes and
other conditions the Part D beneficiaries would otherwise not have needed

175. As detailed below, the drugs that were rendered false by MHA’s illegal activity
are readily identifiable from the data in the possession of the Relator, and the monies expended
for such drugs constitute damages attributable to MHA’s false claims

176. The U.S. Treasury is not the only one that has been affected by MHA’s false
claims The Plaintiff States themselves have similarly suffered due to their responsibility to
pay for a portion of the Part D coverage given to dual-eligible patients

177. This is so because the Ml\/IA requires States to pay a portion of the costs

associated with providing federal l\/ledicare drug coverage to persons eligible for both l\/ledicare

333886 37

 

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

\OOO\]O\\Jr-i>~bll\)>-*

i\)[\)[\)l\)f\)l\)l\)l\)i\)>-¢i-e»-->_‘»-l»-J>_¢>~¢i_»i__r
OO\IO\§ll-l>~L)JI\)*'“©©OC\iO\UIJ>bJI\~J>-"C

l

   

se 2:13-cV-O6154-GAF-§ijj`\`i:il Document 12 Filed 10/25/13 a

ge 38 of 65 Page |D #:280

and l\/ledicaid. See 42 U.S.C. § l396u-5(c)(l)(A), (B). lf a State fails to make the required
payments commonly referred to as “clawback” payments the Federal Government will offset
that amount, plus interest, against l\/ledicaid payments that it otherwise would have made to the
States Id, § 1396u-5(c)(1)(C).

178. To put the clawback in some context:

About 8.8 million elderly and persons with disabilities participate in both the
l\/ledicare and l\/ledicaid programs These ‘dual eligibles’ accounted for only 15
percent of l\/ledicaid enrollment but just over 40 percent of l\/ledicaid
expenditures for medical service prior to the transfer of prescription drugs to
l\/ledicare. These same individuals account for over 25 percent of Medicare
spending The duals rely on l\/ledicaid to pay l\/ledicare premiums cost sharing
and to cover critical benefits not covered by l\/ledicare such as long-term care

Because dual eligibles have significant medical needs and a much higher per
capita cost than other l\/ledicaid beneficiaries they are a major issue for both
l\/ledicare and l\/ledicaid and for both state and federal governments Prescription
drug coverage for the duals was transitioned from l\/Iedicaid to the l\/ledicare Part
D program on January l, 2006 but States remain required to finance a portion of
this coverage through a payment to the federal government often referred to as
the ‘Clawback.’ States have argued that all health care for the duals should be
the responsibility of the federal government

See Kaiser Commission on l\/ledicaid and the Uninsured, Headedfor a Cmnch.' An Update on
Medicaid Spena’ing, Coverage and Polz`cy Heading into an Economic Downtr¢rn--Resultsfrom a
5 0 State Mea’icaz`d Budget Surveyfor State Fiscal Years 2 008 and 2009 (dated September 2008)
at p. 13 (available at http://www.kff.org/medicaid/upload/78l5.pdf).
3. Examples ()f Specific False and/or Fraudulent Claims And Records.

179. As a Part D Sponsor, Relator possesses data and records not available to the
general public that enable it to identify specific false and fraudulent claims/records created by
and/ or caused to be submitted by l\/lHA.

180. As stated above when l\/lHA filled a prescription for a Part D beneficiary, it
created computer records in a standard NCPDP format containing over 130 fields information
related to each claim, including but not limited to: the identity of the beneficiary; whether the

beneficiary was a Part D Plan enrollee; the drug dispensed; the date dispensed; the pharmacy

383836 38
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

 

 

Cz

©OO\]CT\U\-Ldb~>l\)>-¢

NN[\)NNN[\)[\JN»-*)-~)-‘»-d»-A>-¢»_a»-a»-r-J
OO\]O\‘JI~l>-L)J[\)*'°‘O\OOO\]O\L/I~LL)JN’_*O

1

 

 

Se 2:13-cV-O6154-GAF-§f¥5'j'\*i:l/ Document 12 Filed 10/25/13 é§ge 39 of 65 Page |D #:281

from which the drug was dispensed; certain cost details regarding the drug; whether the
pharmacy performed prior authorization; and the co-payment collected

181. Using those NCPDP fields of data, the Plan Sponsor, or (as in this case) the PBM
creates a PDE claim file consisting of certain of the NCPDP fields of data provided by the
pharmacy. Each PDE claim is then transmitted to CMS and is used by Cl\/lS to make payment
determinations as described above

182. Fox, as a Plan Sponsor, possesses all of the NCPDP claims data submitted by
l\/lHA to the PBl\/l for Fox Part D beneficiaries from January 2006 through l\/larch 2010. Fox
also possesses all of the resulting PDE claims data created from the MHA generated NCPDP
claims data.

183. Fox, as a Part D Plan Sponsor, had access to diagnosis information from which it
can definitively demonstrate that the Atypical Antipsychotics were not dispensed for a
medically accepted indication ~ information not contained in the NCPDP or PDE data.

184. l\/lore specifically, l\/ledicare Part D beneficiaries with histories of serious illness
are more likely than those with healthier backgrounds to incur large prescription drug costs To
ensure that Part D plans are adequately compensated for insuring such higher-utilization
beneficiaries Cl\/lS employs a risk-adjustment model called “RxHCC” (this acronym stands for
“prescription hierarchical condition category”).

185. The RxHCC system consists of a series of code numbers corresponding to groups
of related conditions CMS reviews each Part D beneficiary’s l\/ledicare claims for hospital and
physician services (under l\/ledicare Parts A and B, respectively) to determine the diagnoses
those healthcare providers have made about the beneficiary, and assigns to each beneficiary
RxHCC codes that summarize the beneficiary’s medical history. From these codes Fox can
determine the disease state of the beneficiary, including whether that beneficiary suffered from
a disease state that was a medically accepted indication for the prescription of Atypical
Antipsychotics

186. By pairing the RxHCC diagnostic codes with each claim submitted by the
pharmacy for the Atypical Antipsychotics Fox can identify each claim submitted and paid that

383886 39
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

\OOO\]O\U\-l>~b~)[\)i-i

l\)[\)[\)[\.)[\)[\)[\.)[\)[\)»-¢-*>-~»-¢»-¢»-d»-d»_¢_-ay_i
OO\]O\KJ!-BL))[\)*-‘O\OOO\]O\LJ`¢-LUJN*“‘O

 

   

S€ 2213-CV-06154-GAF-§:Pj\‘!§\/ DOCUm€nt 12 Filed 10/25/13§’/'\ a

ge 40 of 65 Page |D #:282

was not for a medically accepted indication

187. Based upon the above described data, attached hereto as Exhibit l is a
spreadsheet that includes the particular facts and circumstances for a sample of improper,
illegal, and false claims for Atypical Antipsychotics submitted by MHA through its member
pharmacies to Fox’s PBl\/l. These claims were then in turn submitted to Cl\/IS as PDE claims
for which l\/lHA received payment ln each instance based upon the RxHCC diagnosis data,
Fox has demonstrated that the patient lacked a history of mental illness but rather suffered from
dementia, a condition for which there is no medically accepted indication (a condition for
which the use of antipsychotics is contraindicated).

188. Fox also possesses (a) the actual NCPDP claims submitted by l\/lHA through its
member pharmacies for each of the claims identified in Exhibit l; (b) the actual PDE claims
that were caused to be submitted to Cl\/IS by l\/IHA or its member pharmacies for each of the
claims identified in Exhibit l; and, (c) the Cl\/lS reports containing the RxHCC diagnoses and
demonstrating that the patients identified in Ex. 1 lacked a history of mental illness but suffered `
from dementia, a condition for which there is no medically accepted indication (and a condition
for which the use of Atypical Antipsychotics is contraindicated), and thus that the claims were
not for covered Part D drugs Because the size of these excerpts would be hundreds of printed
pages Fox has not attached them as Exhibits to this Complaint

189. Attached hereto as Exhibit 2 are examples of claims submitted by MHA through
its member pharmacies for the additional drugs to treat side effects of Part D beneficiaries
caused by improperly dispensed Atypical Antipsychotics in the first instance The submission
of such claims was foreseeable and was proximately caused by the l\/lHA pharmacies’ improper
dispensing of Atypical Antipsychotics that would not have been dispensed had the MHA
pharmacies not first improperly dispensed the Atypical Antipsychotic drugs to those patients

190. Fox also possesses (a) the actual NCPDP claims submitted by l\/lHA through its
member pharmacies for each of the claims identified in Exhibit 2; (b) the actual PDE claims
that were caused to be submitted to Cl\/lS by MHA through its member pharmacies for each of
the claims identified in Exhibit 2; and, (c) the Cl\/IS reports containing the RXHCC diagnoses

383886 40
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

 

\DOO\]O`\§/`I-I>Wl\)>-~\

l\.)[\)l\)l\)[\)[\)[\)[\)[\)»-A»-*>-d»_a)-d»-a»-¢>-‘)->-e
OO\]O\U\-[>L))NHO\OOO\]O\Ch-PL)JI\)P_‘O

se 2:13-cv-06154-eAF;i§"”`tiy Documem 12 Filed 10/25/13§”’¥5"3§9@ 41 of 65 Page lD #:283

and demonstrating that the patients identified in Ex. 2 lacked a history of mental illness but
suffered from dementia, a condition for which there is no medically accepted indication (and a
condition for which the use of Atypical Antipsychotics is contraindicated), and thus that the
claims were not for covered Part D drugs Again, because the size of those excerpts would be
hundreds of printed pages Fox has not attached them as Exhibits to this Complaint

191. Fox possesses the full set of NCPDP, PDE and RxHCC data for all claims
submitted to Cl\/lS on behalf of Part D. beneficiaries who were enrolled in Fox’s Part D Plans
between January 1, 2006 and l\/larch 2010 from which additional false claims have been and
can be further identified

192. l\/loreover, as detailed above l\/IHA received and paid illegal kickbacks in the
form of manufacturer rebates Attached hereto as Exhibit 3 is a spreadsheet identifying the
rebates that l\/IHA received from manufacturers of the Atypical Antipsychotics for dispensing
the same

MLQE_E_

(FEDERAL FALSE CLAIMS ACT
31 U.S.C. § 3729 (a)(l)(A))

193. Relator restates and realleges the allegations in paragraphs l through 192 above
as if each were stated herein in their entirety and those allegations are incorporated herein by
reference

194. This is a claim for treble damages and penalties under the Federal False Claims
Act, 31 U.S.C. § 3729, ctseq., as amended

195. From January l, 2006, and continuing to the present, l\/IHA knowingly caused to
be presented to an officer or employee of the United States Government false or fraudulent
claims for payment or approval in violation of 31 U.S.C. § 3729(a)(1)(A).

196. Specifically, through the acts and omissions described herein, and from January
l, 2006 to the present l\/lHA knowingly and intentionally caused l\/ledicare Part D Plan
Sponsors and their agents including PBl\/ls, throughout the United States to present materially

false and/or fraudulent claims to officers of the United States Government, including without

333836 41

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

 

\OOO\IO`\U\-BK)JN>-i

[\.)[\.)l\)l\)[\)¥\.)[\)d)[\.)>-~-\)----~>--i>_--¢»---‘>----¢»----¢»--¢r_¢>--a
OO\]O\Ul-bWNP°-*O\DOO\IO`\K/`I~l>~b~)(\)’_‘©

  

se 2:13-cv-o6154-GAF-Yj`v§/ Documem 12 Filed 10/25/13 age 42 of 65 Page lD #:234

limitation, claims submitted to Cl\/lS as PDE claims inflated bids and other claims submitted
for approval by CMS and for payment by CMS from Federal funds as described above

197. As a result of l\/lHA’s fraudulent actions Government health care program
officials from CMS, their contractors carriers intermediaries and agents paid and approved
claims for payment for Atypical Antipsychotics that should not have been paid or approved,
and which would not have been paid or approved had the Government known the facts
underlying the submission of those claims

198. The claims that MHA caused to be submitted were “false” and/or “fraudulent”
within the meaning of the FCA because they did not comply with material conditions of
payment established by the Government.

199. l\/lHA knowingly and intentionally failed to comply with material conditions of
payment of the claims in many ways including inter alia:

(l) that l\/lHA caused claims to be submitted for non-covered Part D Drugs i.e.,
Atypical Antipsychotics that were dispensed without a medically accepted
indication;

(2) that MHA caused claims to be submitted for Atypical Antipsychotics that were in
violation of the AKS as a result of improper rebates received and paid by MHA
that it failed to properly disclose

4. that MHA caused claims to be submitted for Atypical Antipsychotics that were in
violation of the AKS as a result of improperly waived co-pays by l\/IHA in
violation of the AKS;

5. that l\/lHA caused claims to be submitted for Atypical Antipsychotics that were in
violation of the AKS as a result of MHA providing a benefit to the LTCFs by
billing to Medicare drugs that should have been the responsibility of the LTCFs
in violation of the AKS.

200. All of the above were individually and collectively material preconditions of
payment or approval

201. MHA also falsely certified that it had complied with all applicable statutes laws
rules regulations instructions and contract provisions and that the pharmacy claims and data it
submitted was true accurate and complete

202. Such certifications were false and fraudulent because as detailed above l\/IHA

333886 42

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

C

\OOO\]O\U`¢-l>~b~)l\)’-“

[\)[\)[\)[\J[\)[\)[\)[\)[\)»-a>_¢»-e>-r»-»-A»_a>-¢>-A>-
OO\]G\LJi-l>~§»)[\)>-‘C\OOO\]C\LJ`¢~PL»JN>_‘C

 

h
>|J

   

se 2:13-cv-06154-eAF§thi§i/ Documem 12 Filed 10/25/13 a

ge 43 of 65 Page |D #:285

did not comply with the material statutes rules regulations instructions and contract
provisions

203. l\/loreover, l\/IHA fraudulently induced Part D Sponsors and/or their PBl\/ls
including ProCare to enter into contracts for the provision by l\/lHA through its member
pharmacies of drugs to Part D beneficiaries Specifically, l\/lHA entered those contracts
knowing and intending that it would not comply with the terms of those contracts including the
requirement that it only submit claims for drugs that were covered by Part D, and that it would
comply with all other F ederal and State laws rules regulations and instructions relating to the
provision of services to Part D beneficiaries

204. l\/lHA’s false and fraudulent acts and omissions described above influence and/or
had a natural tendency to influence and/or were capable of influencing the payment or receipt
of money or property by the United States Federal health care program officials and their
contractors carriers intermediaries and agents would not have paid and/or approved the claims
for Atypical Antipsychotics had they known that l\/IHA was violating its legal and contractual
obligations as described above d

205. l\/lHA’s knowing conduct rendered the resulting claims false within the meaning
of the FCA.

206. As a result, the United States has suffered significant losses in an amount to be
further determined including but not limited to: payments made by CMS as a result of the
claims for drugs that were not covered under Part D and drugs that were necessitated by the
improper dispensing of Atypical Antipsychotic as described above including but not limited to:
(l) calculation of periodic Part D reconciliations and future capitation payments Cl\/lS paid or
would be paying to the Part D Sponsors involved, including Fox; (2) payments made as part of
Cl\/lS’s low income subsidy; (3) payments made by Cl\/lS under the Medicare Part D
catastrophic coverage reinsurance (4) the amount of rebates that should have been disclosed
and passed through to the Plan Sponsors and CMS; (5) payments of co-payments that should
have been collected; (6) all payments made to l\/lHA under the contracts that it fraudulently
induced PBl\/ls and Part D Sponsors to enter.

333836 43

 

FIRST AMENDED QUI TAM COMPLAlNT

 

 

 

 

C

h

\DOO\]O`\U`l-l>~v>[\)>-a

l\)[\)[\)[\)[\)[\)r-¢)-e>--a>_¢>--\>_~)-¢i-¢>-¢>--~
L/l~l>WI\)*-‘CD\OOO\`|O\L/l-PWN*~*‘O

26

3

 

se 2:13-cv-06154-eAF-§iff“riv Documem 12 Filed 10/25/13 Page 44 of 65 Page lD #:286

207. l\/loreover, each individual pharmacy claim submitted by MHA or its member
pharmacies to a Part D Plan Sponsor or PBM which resulted in a the transmission of a PDE
record for that drug is subject to a penalty of between 85500 and $l 1,000 for each such PDE

claim resulting from its submission of pharmacy data.

;QQEJ_DI_I__T___\W
(FEDERAL FALSE CLAiMs Acr
31 u.s.C. § 3729 (a)(i)(B))

208. Relator restates and realleges the allegations in paragraphs 1 through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference

209. This is a claim for treble damages and penalties under the Federal False Claims
Act, 31 U.S.C. § 3729, etseq., as amended

210. l\/lHA knowingly made used or caused to be made or used false records and
statements material to a false or fraudulent claim in violation of 31 U.S.C. § 3729(a)(1)(B).

211. The false records made and used by l\/lHA through its member pharmacies were
the pharmacy claims data for the Atypical Antipsychotics that l\/IHA submitted to Part D
Sponsors and/or their PBl\/ls through its member pharmacies

212. As described above each pharmacy claim and record submitted to a PBl\/l and/or
Part D Sponsor through the NCPDP data was a false record or statement that was material to
the submission of a false and/or fraudulent PDE claim.

213. Each pharmacy claims data entry was “false” and/or “fraudulent” within the
meaning of the FCA because it did not comply with a material condition of payment
established by the Government.

214. The material conditions of payment with which MHA knowingly failed to
comply, include inter alia:

(1) that MHA caused to be submitted to l\/ledicare claims for Atypical
Antipsychotics that were for covered Part D Drugs but without a
medically accepted indication;

(2) that l\/IHA caused to be submitted to Medicare claims for Atypical
Antipsychotics that were in violation of the AKS as a result of improper

383886 44
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

Cr

r\~i

\OOO\]O`\UI-l>b~)[\)»-a

NNNI\)[\)[\)N[\JN>-‘r-*»-*»-‘»-*>~d»-e-a>_¢»-¢
OO\]O\m-PU)N'_“©\OOO\]O\LJT~D~WN*_‘O

Se 2:13-cV-O6154-GAF§P531}§/ Document 12 Filed 10/25/13 Page 45 of 65 Page |D #:287

rebates received and paid by MHA that it failed to disclose

(3) that l\/lHA caused to be submitted to Medicare claims for Atypical
Antipsychotics that were in violation of the AKS as a result of improperly
waived co-pays by MHA in violation of the AKS;

(4) that l\/lHA caused to be submitted to Medicare claims for Atypical
Antipsychotics that were in violation of the AKS as a result of MHA
providing a benefit to the LTCFs by billing to l\/ledicare drugs that should
have been the responsibility of the LTCFS, in violation of the AKS;

215. l\/IHA also falsely certified that it had complied with all material Federal and
State statutes and rules and contract provisions and that the pharmacy claims it submitted were
true accurate and complete

216. Such certifications were false and fraudulent because as detailed above MHA
did not comply with the material statutes rules regulations instructions and contract
provisions

217. l\/loreover, l\/IHA fraudulently induced Part D Sponsors and/or their PBl\/ls,
including ProCare to enter contracts for the provision by MHA of drugs to Part D
beneficiaries Specifically, MHA entered those contracts knowing that it would not comply
with their terms including the requirement that it only submit claims for drugs that were
covered by Part D -- and that it would comply with all other Federal and State laws rules
regulations and instructions related to the provision of services for Part D beneficiaries

218. MHA’s false and fraudulent records and statements described above were
material to the false claims because they were used as a basis for creating the false PDE claims
and thus influenced and/or had a natural tendency to influence and/or were capable of
influencing the payment or receipt of money or property by the United States Federal health
care program officials and their contractors carriers intermediaries and agents would not have
paid and/or approved the claims for Atypical Antipsychotics (and other drugs) had they known
that l\/lHA was in violation of its legal and contractual obligations as described above

219. l\/lHA’s schemes resulted in knowingly false records and statements material to
false claims being created and submitted As a result, the United States has suffered significant

monetary losses in an amount to be further determined including but not limited to: payments

333836 45

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

 

©OO\IO\UI-L>~L)JI\.)>--‘

I\)I\)I\)NI\JI\)I\)I\J[\)»-*»-‘»~>-‘»-»-¢»-¢>-)»_¢»-a
OO\IO\§/I-ILL)~)[\J>-“O©OO\]O\U\~I>K)JN’_‘C

 

 

Se 2:13-cV-06154-GAF§15”:""@§V Document 12 Filed 10/25/13§/'5§9€ 46 of 65 Page |D #:288

made by Cl\/lS as a result of the claims for drugs that were not covered under Part D and drugs
that were necessitated by the improper dispensing of Atypical Antipsychotic drugs as described
above including, but not limited to: (1) calculation of periodic Part D reconciliations and future
capitation payments CMS paid or would be paying to the Part D Sponsors involved,including
Fox; (2) payments made as part of CMS’s low income subsidy; (3) payments made by CMS
under the l\/ledicare Part D catastrophic coverage reinsurance; (4) the amount of rebates that
should have been disclosed and passed through to the Plan Sponsors and CMS; (5) payments of
co~payments that should have been collected; (6) payments of dispensing fees for prescriptions
that were improperly split; (7) all payments made to MHA under the contracts that it
fraudulently induced PBl\/ls and Part D Sponsors to enter.

220. Moreover, each individual pharmacy claim submitted by l\/lHA to a Part D Plan
Sponsor or PBM which was made, or used, to create a PDE record for that drug subjects MHA
to a penalty of between $5,500 and 551 1,0()0 for each and every such PDE claim resulting from

its submission of pharmacy data.

C()UNT THREE
(FEDERAL FALSE CLAIMS ACT
31 U.S.C. § 3729 (a)(3) and 3729(a)(1)C))

221. Relator restates and realleges the allegations in paragraphs l through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference.

222. This is a claim for treble damages and penalties under the Federal False Claims
Act, 31 U.S.C. § 3729(a)(3) (1986), and, as amended, 31 U.S.C. § 3729(a)(l)(C).

223. As set forth above, MHA conspired with others in a kickback scheme arising out
of rebates thereby causing the submission of false and fraudulent claims to Medicare and
l\/ledicaid seeking reimbursement for drugs dispenses in connection with that kickback scheme.

224. Accordingly, MHA conspired to defraud the United States by getting false or
fraudulent claims allowed or paid, in violation of 31 U.S.C. § 3729(a)(3) (1986), and, as
amended, 31 U.S.C. § 3729(a)(l)(C), and conspired to commit violations of 31 U.S.C. §
3729(a)(l)(A) and § 3729(a)(1)(B).

383836 46
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

Ci

r\`

\OOO\]O\U\-l>~&)~>l\)¢-¢

f\)l\)[\-)l\)[\)[\)[\)[\)l\)w-‘>-J>-*>-‘)->-~»-¢»-a»_‘i-_i
OO\]C)\U`l-DWN*-“‘O\OOO\]O\&/`l-BUJN*"O

 

Se 2:13-cV-O6154-GAF§P31¢§§/ Document 12 Filed 10/25/13 Page 47 of 65 Page |D #:289

225. By reason of the false and fraudulent claims MHA and its co~conspirators
conspired to get allowed or paid or by reasons of their conspiracy to violate 31 U.S.C. §
3729(a)(1)(A) and § 3729(a)(l)(B), the United States has been damaged in a substantial amount
to be determined at trial, and is entitled to recover treble damages plus a civil monetary penalty

for each and every false claim.

C()UNT FOUR
(FEDERAL FALSE CLAIMS ACT
U.S.C. § 3729 (a)(l)(G) (“Reverse False Claims”))

226. Relator restates and realleges the allegations in paragraphs l through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference.

227 . During the l\/Iedicare Part D annual reconciliation process overpayments by CMS
to Part D Plans or Sponsors including Fox, must be returned

228. As alleged above, l\/IHA dispensed drugs which were not covered by Part D, thus
inflating the pharmacy claims data which was used to create PDE submissions to CMS.

229. CMS uses the PDE data during reconciliation to determine whether and the
amount owed by the Part D Plans to CMS, or the amount owed by CMS to the Part D Plans.
Accordingly, improperly inflated claims data results in an improper decrease in the amount
owed to CMS by a Part D Plan or an improper avoidance altogether of such obligation by the
Part D Plan to pay CMS after reconciliation

230. At the time of their periodic l\/ledicare Part D reconciliations MHA failed to
report their submission of false pharmacy claims which was used to create false PDE data that
was submitted to CMS.

231. As a result of MHA’s creation of inaccurate records used for l\/ledicare Part D
annual reconciliations l\/lHA caused to be submitted false claims in order to avoid returning
overpayments to Cl\/lS.

232. The Patient Protection and Affordable Care Act (“PPACA”), 42 U.S.C. §
11281(d), which l\/IHA violated, requires that l\/IHA self-report and return to l\/ledicare

overpayments within 60 days of identification of the overpayment

383886 47
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

 

\OOO\]O`\UW-i>-W[\))-»

l\)[\)[\)l\)[\.)f\)>-¢>-*i-a)--\>-\»-->_¢»--¢>_-¢»--\
L/\-l>L»JI\J»-~O\DOO\IO`\U`\~D~L»JI\)>-‘C

26

 

se 2:13-cV-O6154-GAF-Ui7§;;/ Document 12 Filed 10/25/13 Page 48 of 65 Page |D #:290

233. l\/IHA knowingly caused to be made or used false records or false statements i.e.,
the false certifications caused to be made by Part D Plans when the cost reports and other
records submitted for Part D reconciliations were submitted to conceal, avoid, or decrease an
obligation to payor transmit money or property to the United States in violation of the Federal
False Claims Act, 31 U.S.C. § 3729(a)(1)(G).

234. MHA’s schemes resulted in knowingly false records and statements material to
false claims As a result, the United States has suffered significant losses in an amount to be
further determined, including, but not limited to: payments made by CMS as a result of the
claims for drugs that were not covered under Part D and drugs that were necessitated by the
improper dispensing of atypical antipsychotic drugs as described above including, but not
limited to: (l) calculation of periodic Part D reconciliations and future capitation payments
Cl\/IS paid or would be paying to the Part D Sponsors involved, including Fox; (2) payments
made as part of CMS’s low income subsidy; (3) payments made by CMS under the l\/ledicare
Part D catastrophic coverage reinsurance; (4) the amount of rebates that should have been
passed disclosed and passed through to the Plan Sponsors and Cl\/IS; (5) payments of co~
payments that should have been collected; (6) all payments made to l\/IHA under the contracts
that it fraudulently induced PBMs and Part D Sponsors to enter. z

235. Moreover, each individual pharmacy claim submitted by l\/lHA to a Part D Plan
Sponsor or PBM which was made or used to create a PDE record for that drug subject to a
penalty of between $5500 and $11,000 for each such PDE claim resulting from its submission

of pharmacy data.

C()UNT FIVE
(CALIFORNIA FALSE CLAIMS ACT
Cal. Government Code § 12650, et seq.)

236. Relator restates and realleges the allegations in paragraphs 1 through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference.

237 . This is a claim for treble damages and penalties under the California False Claims

Act.

333886 48
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

\DOO\]O\U\-l>-L)Jl\)*-‘

NNN{\JN\\)N[\J[\)>~»-d»-¢»-i»_»»_¢…,_.,_.,..u
OO\]O\L/\-J>L»N*~*O\OOO\IO\LA-DWN*~‘C

3

 

 

Se 2:13-cv-O6154-GAF§153'<§V Document 12 Filed 10/25/13§“ jge 49 of 65 Page |D #:291

238. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the California State Government for payment or
approval.

239. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements and omitted material facts to induce
the California State Government to approve and pay such false and fraudulent c1aims.

240. The California State Government, unaware of the falsity of the records
statements and claims made, used, presented or caused to be made, used or presented by
Defendants paid and continues to pay the claims that would not be paid but for Defendants’
false and illegal practices

241. By reason of Defendants’ acts the State of California has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

242. The State of California is entitled to the maximum penalty of $11,000 for each
and every false or fraudulent claim, record or statement made, used, presented or caused to be
made, used or presented by Defendants

243. This Court is requested to accept supplemental jurisdiction of this related State
claim as it is predicated upon the exact same facts as the Federal claims and merely asserts

separate damage to the State of California in the operation of its l\/ledicaid program.

_C_Q;I_F_N_T_§_I_X
(D.C. FALSE CLAIMS ACT
D.C. Code § 2-381,01, et seq.)

236. Relator restates and realleges the allegations in paragraphs l through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference.

237. This is a claim for treble damages and penalties under the D.C. False Claims Act.

238. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the District of Columbia for payment or approval

239. By virtue of the acts described above, Defendants knowingly made, used, or

caused to be made or used false records and statements and omitted material facts to induce

383886 49
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

\OOO\]O\UW-i>b)[\.)»-a

l\)N[\)[\J[\)[\)[\)\\)[\)»-¢)-¢»-\r-*»-¢)-‘»-di-~»-l»-d
OO\]O\M-i>~WN’“O\OOO\]O\L/l-\>WN*_‘O

Case 2:13-cv-O6154-GAF-;§

 

W Document 12 Filed 10/25/13 Page 50 of 65 Page |D #:292

the District of Columbia to approve and pay such false and fraudulent claims

240. The District of Columbia, unaware of the falsity of the records statements and
claims made, used, presented or caused to be made, used or presented by Defendants paid and
continues to pay the claims that would not be paid but for Defendants’ false and illegal
practices

241. By reason of Defendants’ acts the District of Columbia has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

242. The District of Columbia is entitled to the maximum penalty of $11,000 for each
and every false or fraudulent claim, record or statement made, used, presented or caused to be
made, used or presented by Defendants

243. This Court is requested to accept supplemental jurisdiction of this related State
claim as it is predicated upon the exact same facts as the Federal claims and merely asserts

separate damage to the District of Columbia in the operation of its l\/Iedicaid program

CGUNT SEVEN
(FLORIDA FALSE CLAIMS ACT
Fla. Stat. Ann. §68.082(2))

244. Relator restates and realleges the allegations in paragraphs l through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference.

245. This is a claim for treble damages and penalties under the Florida False Claims
Act.

246. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Florida State Government for payment or
approval

247. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements and omitted material facts to induce
the Florida State Government to approve and pay such false and fraudulent claims
251. The Florida State Government, unaware of the falsity of the records statements and

claims made, used, presented or caused to be made, used or presented by Defendants paid and

383886 50

 

 

 

FIRST AMENDED QUI TAM COMPLAINT

 

 

Ca

O\OOO\IO\U\»$>L)J[\)»-d

I\)NI\)NI\JI\)N[\)N>~‘)=-*)_~»-l»-a»_l»-d»~a>_¢»_a
OO\]O\Lh-P~W[\)*_‘O\DOO\]O`\L/`|~BWN>°“

¢

 

se 2:13-cv-O6154-GAF-PQW Document 12 Filed 10/25/13 Ff§\ge 51 of 65 Page |D #:293

continues to pay the claims that would not be paid but for Defendants’ false and illegal
practices

248. By reason of Defendants’ acts the State of Florida has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

249. The State of Florida is entitled to the maximum penalty of $11,00() for each and
every false or fraudulent claim, record or statement made, used, presented or caused to be
made, used or presented by Defendants

250. This Court is requested to accept supplemental jurisdiction of this related State
claim as it is predicated upon the exact same facts as the Federal claims and merely asserts

separate damage to the State of Florida in the operation of its Medicaid program

COUNT EIGHT
(NEW JERSEY FALSE CLAIMS ACT
N.J.S.A. 2A:32C-3)

251. Relator restates and realleges the allegations in paragraphs 1 through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference.

252. This is a claim for treble damages and penalties under the New Jersey False
Claims Act.

253. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the New Jersey State Government for payment or
approval

254. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements and omitted material facts to induce
the New lersey State Government to approve and pay such false and fraudulent claims

255. The New Jersey State Government, unaware of the falsity of the records
statements and claims made, used, presented or caused to be made, used or presented by
Defendants paid and continues to pay the claims that would not be paid but for Defendants‘
false and illegal practices

256. By reason of Defendants’ acts the State of New Jersey has been damaged, and

333836 51
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

Ca`

\OOO\]&UWAL)J(\.))-~

[\)N[\)I\)NNN[\)>-*-J»_ah~¢»--ar_¢)_a)-¢»-a>-a
\IO\LA~IADJN’_‘O\OOO\]O\Lh-BWN*_‘©

[\.)
00

<

;e 2:13-cv-O6154-GAF-P§W Document 12 Filed 10/25/13 gage 52 of 65 Page |D #:294

continues to be damaged, in substantial amounts to be determined at trial

257. The State of New Jersey is entitled to the maximum penalty of $l 1,000 for each
and every false or fraudulent claim, record or statement made, used, presented or caused to be
made, used or presented by Defendants

258. This Court is requested to accept supplemental jurisdiction of this related State
claim as it is predicated upon the exact same facts as the Federal claims and merely asserts

separate damage to the State of New Jersey in the operation of its Medicaid program

M
(NEW YORK FALSE CLAIMS ACT
N.Y. State Finance Law § 189)

259. Relator restates and realleges the allegations in paragraphs 1 through 192 above
as if each were stated herein in their entirety and said allegations are incorporated herein by
reference.

260. This is a claim for treble damages and penalties under the New York False
Claims Act.

261. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the New York State Governrnent for payment or
approval

262, By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements and omitted material facts to induce
the New York State Government to approve and pay such false and fraudulent claims

263. The New York State Government, unaware of the falsity of the records
statements and claims made, used, presented or caused to be made, used or presented by
Defendants paid and continues pto pay the claims that would not be paid but for Defendants’
false and illegal practices

264. By reason of Defendants’ acts the State of New York has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial

265. The State of New York is entitled to the maximum penalty of 3311,000 for each

and every false or fraudulent claim, record or statement made, used, presented or caused to be

383886 52
FIRST AMENDED QUI TAM CGMPLAINT

 

 

 

 

 

 

 

h

Ca_;e 2:13-cv-O6154-GAF-P;]WW Document 12 Filed 10/25/13 Ej§ge 53 of 65 Page |D #:295

,_i

made, used or presented by Defendants

2 266. This Court is requested to accept supplemental jurisdiction of this related State
3 claim as it is predicated upon the exact same facts as the Federal claims and merely asserts
4 separate damage to the State of New York in the operation of its Medicaid program

5 QLF_N'_F_I_EB_

(TEXAS MEDICAID FRAUD PREVENTION ACT

6 Tex. Hum. Res. Code Ann. § 36.002)

7 267. Relator restates and realleges the allegations in paragraphs 1 through 192 above
8 as if each were stated herein in their entirety and said allegations are incorporated herein by
9 reference.
10 268. This is a claim for treble damages and penalties under the Texas Medicaid Fraud

,__a
,_¢

Prevention Law.

12 269. By virtue of the acts described above, Defendants knowingly presented or caused
13 to be presented, false or fraudulent claims to the Texas State Government for payment or
14 approval

15 270. By virtue of the acts described above, Defendants knowingly made, used, or
16 caused to be made or used false records and statements and omitted material facts to induce
17 the Texas State Government to approve and pay such false and fraudulent claims

18 271. The Texas State Government, unaware of the falsity of the records statements
19 and claims made, used, presented or caused to be made, used or presented by Defendants paid
20 and continues to pay the claims that would not be paid but for Defendants’ false and illegal
21 practices

22 272. By reason of Defendants’ acts the State of Texas has been damaged, and
23 continues to be damaged, in substantial amounts to be determined at trial

24 273. The State of Texas is entitled to the maximum penalty of $11,000 for each and
25 every false or fraudulent claim, record or statement made, used, presented or caused to be
26 made, used or presented by Defendants

27 274. This Court is requested to accept supplemental jurisdiction of this related State
28 claim as it is predicated upon the exact same facts as the Federal claims and merely asserts

383836 53
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

Cas

CD WD 00 \J Ch Lh 4> bd 63 ha

50 03 bJ 53 53 bJ 53 bJ bd bd bd ha vi vi ha va ha -
\J Ch th id LN bd vi CD WD 00 \J <3\ Lh id LN bd »~

dJ
OO

 

;e 2:13-cv-O6154-GAF-dey Document 12 Filed 10/25/13 Ff§ge 54 of 65 Page |D #:296

///
///
///

383886

 

21.

b.

separate damage to the State of Texas in the operation of its l\/ledicaid program
WHEREFORE, for the reasons set forth above, Plaintiff/Relator, and on behalf of the
United States respectfully requests that the Court enter an award against MHA as follows:

An Order requiring MHA to cease its violations of the FCA;

An Order entering judgment in favor of the United States and Fox and against
l\/IHA in an amount equal to three times the damages the United States has

sustained a result of Defendants’ actions as well as a civil penalty against l\/lHA
of $11,000 for each violation of the FCA;

An Order awarding to Fox the maximum amount allowed as a “Relator’s Share”
pursuant to §3730(d) of the FCA;

An Order awarding to Fox and from MHA all reasonable expenses that were
necessarily incurred, plus reasonable attorneys’ fees and costs and

An Order awarding to the United States and Fox all such other and further relief
as the Court may deem just and proper.

A judgment against Defendants in an amount equal to three times the amount of
damages the State of California has sustained because of Defendants’ actions
plus a civil penalty of $10,000 for each violation of Cal. Govt. Code §12651(a);

A judgment against Defendants in an amount equal to three times the amount of
damages the District of Columbia has sustained because of Defendants’ actions
plus a civil penalty of $1 1,000 for each violation of D.C. Code § 2~381.02;

A judgment against Defendants in an amount equal to three times the amount of
damages the State of Florida has sustained because of Defendants’ actions plus a
civil penalty of 311,000 for each violation of Fla. Stat. Ann. §68.082(2);

A judgment against Defendants in an amount equal to three times the amount of
damages the State of New Jersey has sustained because of Defendants’ actions
plus a civil penalty of 331 1,000 for each violation of N.J .. Stat. § 2A:32C~3;

A judgment against Defendants in an amount equal to three times the amount of
damages the State of New York has sustained because of Defendants’ actions
plus a civil penalty of $12,000 for each violation of N.Y. State Fin. §189(1);

54
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

Ca.

\~OOO\!O`\U!-hwl\.))-‘

N[\)l\)t\)[\.))-a»-)--\»-l)--l)--)--i»-a)-»)-a

 

n

 

e 2:13-cv-O6154-GAF-P§1\W Document 12 Filed 10/25/13 Page 55 of 65 Page |D #:297

l. A judgment against Defendants in an amount equal to three times the amount of
damages the State of Texas has sustained because of Defendants’ actions plus a
civil penalty of $10,000 for each violation of Tex. Hum. Res. Code Ann. §36.002.

Respectfully Submitted,

Dated: October 25, 2013 LEONARD LAW GFFICES
it LIPSCOMB & LACK

MiCha€l li l "‘"In\n`¢,. `\, _L
Paul A. Traina
Attorneys for Plaintiff/Relator

 
  
     

B

383826 55
FIRST AMENDED QUI TAM COMPLAINT

 

 

 

 

 

Case 2:13-cv-O6154-GAF-PQW Document 12 Filed 10/25/13 Rage 56 of 65 Page |D #:298

 

CaS€ 2213-CV-06154-GAF-P.JW DOCUm€n'[ 12 Filed 10/25/13 Page 57 Of 65 Page |D #:299

§§l
_§a a§…ll;E§-ll§,

§ ,¥§..=El
,B§e§§ ,..,
s n d l,z§a§ 33

§ ~E:;..»E§
§ 33§§ .QB.§

 

 

 

 

 

 

Case 2:13-cv-O6154-GAF-PJW Document 12 Filed 10/25/13 Page 58 of 65 Page |D #:300

 

 

§s::§f_nuzz:u §§§
§

z~.|§§m§ §§ .
§i=<o.. !§§§§§

   

 

 

 

ss

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

gonzalez

 

Case 2:13-cv-O6154-GAF-P.]W Document 12 Filed 10/25/13 Page 59 of 65 Page |D #:301

 

 

 

 

 

 

 

 

 

 

 

 

CaS€ 2213-CV-O6154-GAF-P.JW DOCUm€n'[ 12 Filed 10/25/13 P@Qe 60 Of 65 Page |D #:302

 

 

CaS€ 2213-CV-O6154-GAF-PJW DOCUm€nt 12 Filed 10/25/13 PElQ€ 61 Of 65 Page |D #:303

!E?»@~Q€ 62 Of 65 Page |D #:304

 

 

 

CaS€ 2213-CV-O6154-GAF-P W DOCUment 12 Filed 10/25/13

 

_35§¢3. Em .e§~_w_ n=as\€£,,§o
_§P.e._£ .....=o _ §.E..a ssi §SES va _mq_s_§c€z
§..5§8 nn 253 _aws§ ;__uz>§i_!&$ ~32&\£§=3_ §§
§§ _s: »S»E> vs 3 5935_ excuse _E§.szd§u£d==%¥m 365 eeo

_e¥su§ gsa ¥._,§Eu 2a

 

,anvu\£_zsoo_ wiseman 2252 rca S.So?w “__B._=._m.a 550 ,

E___E §§ u§zo.€.wa ~zn€: ss §ea,._ _€:Sz,_
sz<_»_§§§ §§ csc ss §U.§ _E§ Y.,as=£=£...£a E§»B wives
.r . . §§ casing .§ .

e~£ E§»&m_§=a §§ §3?8_ 535 586 .>£K§».;§ _ S..Eu._m§
_..i.»o\».€§»c_€§_an§m va E==__X. _ visa _ano_a~s£

 

EES& §§ e££mv_z §§ 3 5?35_.83§}¢8 .Ez 635

__..§is ._.._a _33 ns §_==oo_m§=< ozs§. va §.B_c_._
. =i . . . o££~ . :Bud\ . .
3 336 §§ §u§&£ _ nunez §§ §§=8 2 q Ev_e.$§§z aaa

zw§$m~mm$
¢-:Qm$:mo
_B§e~$:$ .
um~m:.~%:$
G$R~BS$ .
m~wf§$;$
u£¢§~$:$.
o§~$§$
§£3~$;8
,S~S;B~S .
Ev$ém$~mg
o~m:£$§§
u~$EHBSS

$~§Q~E$.
w§§~'$~$~
%$BQ$~S _

KW$O:GNS
.§S:~£S .
SZ$¥$~$
SF$S$~S_

am-$~...~m~$¢
m»v$m~¢~m~S .
o§m§~¢~mo 1

    

2~$2~2~@8_

   

JQSEAB_
d$§§~mmo .
mw~m§:£-$.
EKQR§~Q$.

_m~$m$-~$.
ummm$§-mo
mw~$.m$-mm¢.
.XSMS§QS.

<~:$~3~32

SSSE 33 _
RS$~:~$S

V§:_K:~m§
$Smmm=~$?
Eom~mmm$~mmo~

§§S!:~Sv

§2~3$2$ “

 

 

_c»n§§>§_§
25 § S.§E 55 vu=%___§ou _.E §2_3§5 ;22.>_5£3 aim sa
_=.I 2~35¢3= . . si __
_:E~S>z §§ 4 2 _c%.~

133 vacuum zee E~ 338 §._=w$o_e€a§ §§ §§ ar 3118§5.2
.£6_ $Z¢E _Zmz%n _ ,..Ea_£ _e_> u§u_aa..a£ _§.o§..z\§£uoz\!c§£
_vw=$& go_eo!~u 223 E~ ."z§e£ 354 ._§_G xiii

 

§~S$$mq$ .

SM¢HRMMS.

 

        
      

  

          

 

 

 

 

 

vacsz
§§ ENE 322
wzod 452

  

 

        

E:&<u 02 m~ <QE> Se£.~

 

 

 

 

 

 

 

 

 

§o~.<,wz

 

 

 

 

HlNHi.¢E§ m~.o mzon_$%z o§\m<~ §SS:§ 82 23 §Q»Q:
invi&<§: mg wzca_¢~&z §§ § §~\-E §~\£\= Se~§>... 82 32

      

§§ § 26 Wzoe§&=. §§§§ Se~:§
. c § § ng_aaz §§§§ §a§
. § 92 25 N=B_E.E= § §~\Z`S §§ 3055

indiana § m~.£z§_§a_= §§§§ S§S
l|!§§§i§ §S>.
§imm.h';§ § 2 ~.§_5,.£ §§§§ §~§
nui.§§n.$§§az §§§i§§~§
unidas § § w§_s,z._ §§§§ §~E~

           

§§ oz mg mzon_¢§¢ §§§ §Q~<: SQSS
~`-\.: §§ 83 2
$~\- § §~\~<: SSE:

08~§`2 §§ §EE
§§ §§§SS

§ §§§S§
§ §§ §§§a§

 

§§ §S:m

 

§ 35

82 §§ §S$

 

 

 

§<Sz m smE>~ §§§§i §S<m

 

 

wz<oz~m» _

 

§§ §§ _

 

 

 

 

 

 

 

 

 

 

§§sz ~m~E~

 

 

~$S~

 

 

§o>>mz
w¢<u EE.~
255 <:z

 

 

 

§oz¢wz w$$~

   

l
§

 

{l§ml 683
ll§i 803

§

§ml@ml Ea§::s§w §§§§s§
§§.£§.._§§ §|ll|§§§ §§Ss

   

§
§

 

             
 

§

|ll|§§§§ss
leig§§i§§§§>
§§%s;_§§ §llll§§l§§ss

l§i§ §:§:sss §§§i§ss

El|ll§¢§`§ §SSE>

§

             

il§

ig
ig

233 oz § z:zw,.. v §|||‘§§§§SS
l§i§ usi 62 m §co§§§§ §S.S
§§ 62 § §Ez§ §lll* SSE> §§ §§ ~

ig

|‘§§i§ 635

§§§ §§S ~

§ had us 2 .m=dc¢w¢§

l‘§

§§ E§=>

|| 5

§ EEE 02 § d:oo~; ~

li§§

E§i§

l|i§§ §~E>

§§§ SQ

||§ S~\ §§

E§§ a 3 § §SS

l|§ ¢S~` § §S.S

§ §§ oz 2 :=oo¢~w§ 22\ § 655
§ 235 g §~§\: §~\m>

§§§§§SS
cases m<m§~§§§§§~§
§§ § s §Sz §§§§ §§
§§Z msa§z§§§§i§~§

e§§§ sa.§§§§§ §§

§§§§ §§

§§ § s §S§§§§§i §SS
§§ § n §S§§§§§ §§
§§§§ §~§

§§ 2 §Ew§v..l§§§>

§§ § n eggs §§§§§§>

§§ § a a=eo..s§§§§§~ §

§§§§ §SS.

 

               
        

 

usf us 3 d=co§ §§§ 325 n
555 02 m~ $=QQEM § =S~\Q~ § §~PS

   

§§ 62 2 m=uo§w§ 22;> § §~E>

§§ § 2 z=co§ ..S~>S §§ §SS

as
s
d

       

 

 

 

 

»<» 83~ odd.§cn£¢$ 833

 

 

 

 

   

 

o¢o~\=> o~o~` .

€SS§ 2 §~a:
€§QR\: §~`@:

oS~`QH

ll

3

t >

` geo
§§ §§

            

 

gram

323

§§

=:z¢!€§

 

§Z£m:

 

. <2$§2

522an

<-RBHS

iso$v$m~

 

33:..~§

3$$~2

§ZAE

m~»§m~:

QEESK

 

vi

v

~

 

CaS€ 2213-CV-O6154-GAF-P.]W DOCUm€nt 12 Filed 10/25/13 Page 63 Of 65 Page |D #:305

                    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

§§§~§ _ E||l §§§ .SS~>
:$§.88. Ell| §§§ .§>S
u§m$§.§_ ‘ §§ i§ §§EE| 88 §§
SG§§S: §|l| 853 §§§ §~E:
22§~$§_ l§i§ =S~`..S §§ SRE:
_§a_§c §§..£.E E¢,u&¢z€o va $§2._£ ¢B»§E~ST §o>>mz §llll§§§ww§l§$~§ e.E
ma.s£z§z~.i> gte ¥~E=£ew >;S.=§?£~§»Wa _S»zu§£s£ u§m$$$o? w¢<uz$~ l§i§ gaf 62 § guam §§§§ §~\QB .$ <m~»$~§ BR§~E
§§§z §§ §l|||§i§§§wi§§
§~§§§. l§i§§§§§§ §§ w
@$R-$BS _ §|ll|§i§§§ §Q»S
u§m~<§§ * §|||l§§§§ §SS
ESQ..§§_ l§i§ §§ § § z=oe§§§§am~§i §SS
¢BZS$ST l||{§§§§i §S<S
_Siz.._v»£ _.h»zo\§§=vn_e»v§§ _§-$-8¢ _ §§ 3 § BZE. us S~ maco§ §§§HHE' §~\2`2 33
§§ §§§§i§§_§_ §§§§%§§ §§§§, §§: §§ m E§§§EEI§§<§ a §§: §§E
.m$¢§m~§_ §§ <=: §i§ 535 oz § :=coy_m§§§§ SQS`E
S§:S§c lll{§§§§ _§>.S
mm§§~§z |l|l§§§§ _SQE~
SM~E;$S_ §§ i§§§§i§§i§§§
22§$2~§ |ll*§§§§§§<:
H§§§B_ gale bad § m z:§§§§§§$`:
=E¢B§§ lll|§§§§§$<a
223 ¥~ §s&_:z€§<=~£ §§.$&_S§EX>: s 235 ii §§E§S_ §o>Ez §i§§§§§§ §~\E\m
v>~on~.k:z_~c_?< inns va S€i.._ _:v_»&§ ~S,u<_§:szm£ _n…oed\~=§ S$»mw§§ §§ _zE» . H..».i § 02 § 5 09 x~o§§§ §‘ll|§§§i§ §~Em §§ <ES£S~ B§EE
. , , . uz$§§$_. §§ <zz lllil§i§ msqu m z:a. §§§§§5§
8§§§§ gale § § B~ 5 cow do§§.a §llll§§§§ .. . 2a
§$»§§~S, lllll§i§ E=_E@z m c:: . §§§§§S~ h
$v$§~z§ §Hl@n.i § 02 § 5 com §o§z>s E|l|!§§§§ $2\~§
2§$3§$_ lllll§i€§§§§§ So~§ .
8~$§§§ gsa 3 § 3~ 5 com §o§z>a §lll|§§§§ §SS
w~$zz§~$, lll!‘§igi§§§§i§§~ mm

 

_§§eg§=_§>_§$ __§~.l<~..§§§_,=.. §§§§ §§§ Ewlml§v2m§§§§§§l|ll§§§ §§..§ §s§ §,~§ §§
...§.,.,.§§_z§,m_s§§§§§§_s§§§.§§s §§§§_ §§ ||l|l§i§ E§§§§§§§§§§

 

 

§§z§z gli§.ml g § § §§§§§Elll|§§§§ _§§
§§§s= HBI¥HMI § § §§§§§_¢Elll|§§§§ §§
§§§: §u|n.......ml §a§_§Z._§_¢E||ll§§§§ §§
e.§§§_ l|||l§i§~'.:§:.2.§§§§§§§§~§
§E§§ §i.uwal § E§_§§§§E~lll §§§§i§~\§
u§...§§_ |||!l§wl §§n.a§_§,.§§§§ §S§
§§§§ naminle v § § §§ §.§>E E|ll|§§§§ §§:
E:§§_ lllll§i@i§Zm~_=wzoe_¢ma_,_§§§§ §§§

._§§§§ mwmiulw......_ml §§ .,_§§§=§§llll§§l§§§ z 2

 

§ z §E§zs ll|!l§i§'§§§z§§.._§§§el§§§§
.._§. § _e=>_%§§§zuns§§§w.w§§§§§§§ §E§=§ §§ §wl...i...m~l§§§§§§§§llll§§§§§§§ §§ §§§ §§:

_S~E\§§a_§z£§E§§u¥:£§a_§£_§ _$§§:S. w.§§z llll|§i§i.§§2.3§_,_:£§§§§§§§

. , . §§§§_ EM'HNI§§§_§§§§§lll‘§§§§§§

,_§.§§§ gale §§ §_§§§§§llll§i§§§§~ §

m§§§ l||!l§inu'3§m.:§_§._§§§§§$§

§=§§ lll*|§i §§az§_._§§§§§§§

§¢§z§ §iw....~.ml§§§§§§?§§ll |§§§§§ss

_§§§_ lll||§inui§§m~§s_..§_§§§§§q§

s§§§§ §iuuml§§§§B§§§||l¥§§§§§§z

e§§;§ |lli|§i...l.._ml §§ m,_:§_§_¢ §§E §§§ §§

§

 

m¢§¢mww~mo"
_o~o$m$»~$_

 

 

 

 

 

 

gale a §§ § § weis §|lll §§ = é§§§§:
Ill||§ml§,.l§§33§.§,. §<2: §§ §S§ §§ q

 

o~

w

 

 

m

 

 

 

 

 

 

_E$§ §es.§_;a v§$&
z$o §§ $§!v»a §=S_Ea¢>w >§~i§_ .K§ ~o $¢~35 go_§~naa Eou
4 . z .i.!~§§cs

 

 

_n§_mu¢¢.._ . En¢: ,. _c& .
vi §§8_ §§ _21¢¥» ~Euz>vs.o §¢§Ev§a

_§E.zd=$ou.£!§w §=8&§_5_ §=$nuz 325 __¢ EP$E

_Eou § §£37.§=§;£ §:Km.§¢n=&§ s 333 §§
oa£$§sz _ uswa inns 2a S...zc=_ .§=322 83<__§.¢8»¥¢ .§EG\£EEX.

WBE~§E¢¢ 53=> §§ Ev§to$
K»em .:u?o»E _~._,»§ vi E:Ev._o$a 5322 _ 32$ 3 over 21 um£..§..v:
.E~Zv_§§§= 3 355 E£ rm£~en_>:_§§¥~m$ _BE~..<Q,§:B

 

CaS€ 2213-CV-06154-GAF-PJW DOCUment 12 Filed 10/25/13 Pag€ 64 Of 65 Page |D #:306

m§§$~$~

 

o§£$~BS" .
E~wmw:~oo~ .
<EZE$$S .
,$~$2-3?
w§<d-$ .
<$E~§RS ,
§-vo`m~mo.
o$§$¢§~$ *
“§8.%2¢~8 ,
EESSS~S *
<¢~§»BS~S _
wm§m~mo$~$ .
u~wm§o~m~mo “
$'~$m§~$ .
u~$$$~m~$,
“§~383~8,
w~$~mmo~m~$ _
¥~§03~8 ,
vmmw<mmo~m~$ _
<$2~3&~$ _
a$~$$E~S_
SSEBE~$ _
4»0»§2¢~8 .
#§$E¢~S ,
<R$¢~E¢~S _
avm§m~o~m~mo .

 

<Q~BSS~B _

V.=o>¢wz
§§ §§
wzo.. §§

§§sz
w¢<u 25»
wzo. §§

§Hl 83~

   

 

553 02 § x_>$._ o~\ov..

  

~o~\»~d

 

  

S~\m~d S~\m~`~

 

§>\~

 

d

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Se~\m~`~ Se~d-~ §

 

 

22=:

oh o

as §

m h a

goo_
\\ §
22 d
§§

 

 

§Bl§ Eim<»uz$zoe&&z §~`m§~ §\Z:~ §
. ..§lll|$o~\$:~ 32 §
. . ... llll§ 52 82 §
l§ii»w;§wzizoe¢§.= §5<2 So~\!§ §
§§ 3 803 E¢<G£w§>. ..§lllio§:m: ¢§Bd §
§§ 3 803 ms<»wz&:>. ..El|l!§§§
l§i§§§§§
§§ 3 §§ ws&§!z>. ..glll|§§i§
l§i§ m.z§ozma:z . §§ §S: n
§§ HIS§ .GEEQ§;.>. .S€o,- lll|§§§~>
l l§m|§w'§§§§a<
§§ iSS~ G.a§uzm§>§.§lll!§§§§
l l§i@i§§§.: c
§§ indem ESE§@;.>. A§lll{§§§§`
l l§imwwi§§§i§m:
§§ i§$ GS<SE§>. ..Ell|l§§§ g
l l§i§' bs§oz w >E_m. §§ §Q<
222 ElS§ m;§¥m~ Es.§lll*§§§§:
l |§;~ i§§§§§§:
gi 982 Em§§$e§: Ell|‘§§§
gi 803 wséo§id>oo¢ .§||l!§§l§i
ll lm$;~ i§§§§§
§i§£ EEE.ZSEE: §l||!§§§$\:
l |§imgl§§§§a$
223 iSBM §m<hoz$e~§ §ll||§§§§
l§igi§§§i§§<
§§ § 2§ E§¥$e~_._= §||ll§§§§
l l§i§§§§§<
205 2 803 E_m§oz$e~:= Ellll§§§mq
§_|Hmi D§»wzm:§c¢§§§§ 2
§i§§§§§~§
223 3 8§ U;<Szmwe§: E|ll!§§§§
§E|EH“§§§SSE
» §§ m Hw.¢l §§§`
§§ m § .m:_<;£m~ docg_k§§§~:
223 2 803 ds&wz$e~§ Ellli§§§~i
l%i§§§§§<
223 3 §§ m;§qz$e~§ Ellll§§§~:`
l§i§§§§ §~ ~
228 8 § wsi¥_$e~§ §llll§§$o~ <
l§i§§§§§§>
222 3 § ES<GESEEL Ell|l§§§~>:
§iqhm'§§§§>
§imwi§§§§$:
223 8 808 GEEQ>.$§E: S¢~Z l|ll§§§~>>
_ _ §§ z §§ m;Eu£S§co¢ §SQQ §~\2\2 Se~::

 

 

 

§§ .§`§
§§ §§

§§ §~§=
§§ §§B

§§ w 2
§§SS
§~\QS mon-.w~\m
§§SS
§§ ma

§.. §§
§ §§
§ §§=
§ §§z
ll§~\~ § moo~\~`:
§ §S~§
§ §§S
§ §§

§§§
§§~§

§ _ §§
§ §~E :
§ §~>~E
§ §S§
§ §~ ~§
§ §S§
§ §~\§
§ §SS
§ §SZ
§ §§
§ §SS
§ §SE
§ §§
§ § ma
§ §SS
§ §Q~S
§ §SS
§ §§ m
§ So~\§
§ 32>$.
§ §§
§ §~E`~
§ 32 §
§ §SS
mazzilsz=z
§ §§

So~ 52 Se~>~>

 

365

§x=x.

 

32$§2

<E ~$E@~

<Wm$~mvm

 

R£$~H

~Eem¢~m

~S»wm~f

 

 

 

 

 

 

Case 2:13-CV-06154-GAF-PJW Document 12 Filed 10/25/13 Pa`ge 65 of 65 Page |D #:307

 

